Case 08-35653-KRH         Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09               Desc
                         Imaged Certificate of Notice Page 1 of 61


                            UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF VIRGINIA
                                     Richmond Division



 In re:
                                                               Case No. 08-35653-KRH
 CIRCUIT CITY STORES, INC., et al.,                            Chapter 11
                                                               (Jointly Administered)
 Debtors.



                                              ORDER

            Upon consideration of the Motion of the Liquidating Trustee to Determine Extent of

  Liability for Post-Confirmation Quarterly Fees Payable to the United States Trustee Pursuant to

  28 U.S.C. § 1930(a)(6) and Memorandum in Support [ECF No. 14197] (the “Motion to

  Determine”) filed by Alfred H. Siegel (the “Liquidating Trustee”), Trustee of the Circuit City

  Stores, Inc. Liquidating Trust (the “Liquidating Trust”) and the United States Trustee’s Motion

  for Summary Judgment on the Motion of the Liquidating Trustee to Determine Extent of Liability

  for Post-Confirmation Quarterly Fees Payable to the United States Trustee Pursuant to 28

  U.S.C. § 1930(a)(6) and Memorandum in Support [ECF No. 14202] (the “Motion for Summary

  Judgment”) filed by the Office of the United States Trustee (the “U.S. Trustee” and, together

  with the Liquidating Trustee, the “Parties”); the Court having reviewed the Parties’ pleadings

  and having considered the arguments of counsel at the hearing conducted on June 12, 2019; after

  due deliberation on the record herein; and for the reasons set forth in the accompanying

  memorandum opinion entered substantially contemporaneously herewith, it is hereby

  ORDERED, ADJUDGED, AND DECREED that:

            1.    The Motion for Summary Judgment is DENIED.

            2.    The Motion to Determine is converted to a complaint (the “Complaint”).

                                                 1
Case 08-35653-KRH        Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                    Desc
                        Imaged Certificate of Notice Page 2 of 61


         3.      The Clerk of the Court shall open an adversary proceeding (the “Adversary

  Proceeding”), styled as Alfred H. Siegel, as Trustee of the Circuit City Stores, Inc. Liquidating

  Trust v. John P. Fitzgerald, Acting United States Trustee for Region Four.

         4.      The Clerk of the Court shall assign the Adversary Proceeding the next available

  adversary proceeding number.

         5.      The Clerk shall docket the Motion to Determine as the Complaint in the

  Adversary Proceeding.

         6.      The filing fee for the Adversary Proceeding is hereby WAIVED.

         7.      All relevant filings in Case No. 08-35653-KRH prior to the entry of this Order

  shall be deemed docketed in the Adversary Proceeding. Any future pleadings relating to the

  Complaint shall be filed in the Adversary Proceeding. In light of the foregoing, the Clerk shall

  not issue a summons in the Adversary Proceeding.

         8.      The Clerk shall docket a copy of this Order and the accompanying Memorandum

  Opinion in Case No. 08-35653-KRH and in the Adversary Proceeding.

         9.      The relief requested in the Complaint is GRANTED.

         10.     The quarterly fees due and payable by the Liquidating Trust since January 1, 2018

  shall be determined based on the fee schedule set forth in the prior version of 28 U.S.C.

  § 1930(a)(6) effective on September 30, 2017.          As to payments previously made by the

  Liquidating Trustee to the U.S. Trustee, the rights and defenses of both Parties are reserved.

  DATED:         July 15, 2019                       /s/ Kevin R. Huennekens
                                                UNITED STATES BANKRUPTCY JUDGE


                                                ENTERED ON DOCKET:
                                                July 15 2019




                                                   2
Case 08-35653-KRH       Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                Desc
                       Imaged Certificate of Notice Page 3 of 61


  Copies to:

  Lynn L. Tavenner
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                                                    Washington, D.C. 20530
  Paula S. Beran
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  Richmond, VA 23219                                Department of Justice
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  Executive Office for United States Trustees       950 Pennsylvania Ave., NW, Rm. 1111
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  Washington, D.C. 20530
                                                    United States of America
  P. Matthew Sutko                                  c/o William P. Barr
  Department of Justice                             United States Attorney General
  Executive Office for United States Trustees       U.S. Department of Justice
  441 G Street, N.W., Suite 6150                    950 Pennsylvania Ave., N.W.
  Washington, D.C. 20530                            Washington, DC 20530-0001

  Beth A. Levene                                    United States of America
  Department of Justice                             c/o G. Zachary Terwilliger, Esquire
  Executive Office for United States Trustees       2100 Jamieson Avenue
  441 G Street, N.W., Suite 6150                    Alexandria, VA 22314
  Washington, D.C. 20530


                                                3
         Case 08-35653-KRH                Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                                 Desc
                                         Imaged Certificate of Notice Page 4 of 61
                                               United States Bankruptcy Court
                                               Eastern District of Virginia
In re:                                                                                                     Case No. 08-35653-KRH
Circuit City Stores, Inc.                                                                                  Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0422-7                  User: garyl                        Page 1 of 58                         Date Rcvd: Jul 15, 2019
                                      Form ID: pdford9                   Total Noticed: 12


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 17, 2019.
               +Andrew W. Caine,    Pachulski Stang Ziehl & Jones LLP,    10100 Santa Monica Blvd.,
                 Los Angeles, CA 90067-4003
               +Beth A Levene,    Department of Justice,    Executive Office for United States Trust,
                 441 G Street, N.W., Suite 6150,    Washington, DC 20530-0001
               +John P. Fitzgerald, III,    Department of Justice,    Office of the United States Trustee,
                 701 East Broad Street, Suite 4304,    Richmond, VA 23219-1885
               +P. Matthew Sutko,    Department of Justice,    Executive Office of United States Trust,
                 441 G Street, N.W., Suite 6150,    Washington, DC 20530-0001
               +Ramona D. Elliot,    Department of Justice,    Executive Office for United States Trust,
                 441 G Street, N.W., Suite 6150,    Washington, DC 20530-0001
               +Richard M. Pachulski,    Pachulski Stang Ziehl & Jones LLP,    10100 Santa Monica Blvd.,
                 Los Angeles, CA 90067-4003
               +Sumi Sakata,   Department of Justice,    Executive Office for United States Trust,
                 441 G Street, N.W., Suite 6150,    Washington, DC 20530-0001
               +United States of America,    C/O Lee J. Lofthus,    Assistance A.G. for Administration,
                 950 Pennsylvania Ave., NW, Rm. 1111,    Washington, DC 20530-0009
               +United States of America,    c/o G. Zachary Terwilliger, Esquire,    2100 Jamieson Avenue,
                 Alexandria, VA 22314-5794
               +Wendy Cox,   Department of Justice,    Executive Office for United States Trust,
                 441 G Street, N.W., Suite 6150,    Washington, DC 20530-0001

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
               +E-mail/Text: ustpregion04.rh.ecf@usdoj.gov Jul 16 2019 04:08:55     Robert B. Van Arsdale,
                 Department of Justice,   Office of the United States Trustee,
                 701 East Broad Street, Suite 4304,   Richmnond, VA 23219-1885
                E-mail/Text: cio.bncmail@irs.gov Jul 16 2019 04:08:34     United States of America,
                 c/o William P. Barr,   United States Attorney General,   U.S. Department of Justice,
                 950 Pennsylvania Ave., N.W.,   Washington, DC 20530-0001
                                                                                            TOTAL: 2

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 17, 2019                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 15, 2019 at the address(es) listed below:
              Aaron L. Hammer    on behalf of Creditor    National Product Care Company ahammer@hmblaw.com,
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              Aaron L. Hammer    on behalf of Creditor    TWG Innovative Solutions, Inc. ahammer@hmblaw.com,
               ecfnotices@hmblaw.com
              Aaron L. Hammer    on behalf of Creditor    Virginia Surety Company, Inc. ahammer@hmblaw.com,
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              Aaron L. Hammer    on behalf of Creditor    Service Saver, Incorporated ahammer@hmblaw.com,
               ecfnotices@hmblaw.com
              Aaron L. Hammer    on behalf of Creditor    ServicePlan of Florida, Inc. ahammer@hmblaw.com,
               ecfnotices@hmblaw.com
              Aaron L. Hammer    on behalf of Creditor    ServicePlan, Inc. and all its Affiliates
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              Aaron R. Cahn   on behalf of Unknown     Reliance Figueroa Associates, L.P. cahn@clm.com,
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              Adam K. Keith   on behalf of Creditor     The Marketplace of Rochester Hills Parcel B, LLC
               akeith@honigman.com, tsable@honigman.com
              Albert F. Quintrall    on behalf of Creditor    Wayne-Dalton Corp. a.quintrall@quintrall.com
       Case 08-35653-KRH         Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                  Desc
                                Imaged Certificate of Notice Page 5 of 61


District/off: 0422-7          User: garyl                  Page 2 of 58                 Date Rcvd: Jul 15, 2019
                              Form ID: pdford9             Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Alexander W. Stiles    on behalf of Creditor    City of Virginia Beach astiles@vbgov.com
              Alexander Xavier Jackins    on behalf of Interested Party    Eatontown Commons Shopping Center
               ajackins@seyfarth.com
              Alexander Xavier Jackins    on behalf of Interested Party    Arboretum of South Barrington, LLC
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              Alexander Xavier Jackins    on behalf of Interested Party    AmCap NorthPoint LLC
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              Alexander Xavier Jackins    on behalf of Interested Party    AmCap Arborland LLC
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              Alexander Xavier Jackins    on behalf of Creditor    Engineered Structures, Inc.
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              Alison Ross Wickizer Toepp    on behalf of Creditor    Northern Indianna Public Service Company
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               dlynch@reedsmith.com;cvalente@reedsmith.com;bankruptcy-2628@ecf.pacerpro.com;docketingecf@reedsmi
               th.com;catrina-valente-9230@ecf.pacerpro.com;alison-toepp-2069@ecf.pacerpro.com;donna-lynch-3986@
               ecf.pacerpro.com
              Alison Ross Wickizer Toepp    on behalf of Defendant    Sony Computer Entertainment America Inc.,
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              Alison Ross Wickizer Toepp    on behalf of Defendant    Energizer Battery, Inc.
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              Amanda Jill Katzenstein    on behalf of Unknown    KeyBank National Association
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              Ambika Joline Biggs    on behalf of Defendant    Scripps Networks, LLC d/b/a HGTV.com, d/b/a
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              Ambika Joline Biggs    on behalf of Defendant    The National Union Fire Insurance Company of
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              Andrea Campbell Davison    on behalf of Defendant    Animal Planet, L.P. ADavison@beankinney.com,
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              Andrea Campbell Davison    on behalf of Defendant    Wonders Industrial Development (Shenzhen) Co.,
               Ltd. ADavison@beankinney.com, onazar@beankinney.com
              Andrea Campbell Davison    on behalf of Defendant    Discovery Communications, Inc.
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              Andrew Edward Macfarlane    on behalf of Creditor    Sherwood America, Inc. aem@aemlegal.com
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              Andrew Lynch Cole    on behalf of Interested Party    Faber Bros., Inc. acole@coleschotz.com
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       Case 08-35653-KRH         Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                  Desc
                                Imaged Certificate of Notice Page 6 of 61


District/off: 0422-7          User: garyl                  Page 3 of 58                 Date Rcvd: Jul 15, 2019
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The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
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              Anne C. Lahren   on behalf of Defendant    Landmark Media Enterprises LLC, f/k/a Landmark
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              Anne Elizabeth Braucher    on behalf of Creditor    DL Peterson Trust, as Assignee of PHH Vehicle
               Management Services, LLC abraucher@mcmillanmetro.com
              Anne Elizabeth Braucher    on behalf of Creditor    InnerWorkings, Inc. abraucher@mcmillanmetro.com
              Anne Elizabeth Braucher    on behalf of Creditor    Manufacturers and Traders Trust Company, as
               Trustee under (I) the Collateral Trust Indenture from Bond Lease Corporation VI, dated February
               1, 1993 and (II) the Collateral Trust Indenture from Secured abraucher@mcmillanmetro.com
              Anne Elizabeth Braucher    on behalf of Creditor    West Marine Products, Inc.
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               drichards@vanblk.com;kjerald@vanblk.com
              Anne G. Bibeau   on behalf of Creditor    Orangefair Marketplace, LLC ABibeau@vanblk.com,
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              Augustus C. Epps, Jr.    on behalf of Professional Augustus C. Epps, Jr. aepps@williamsmullen.com,
               avaughn@williamsmullen.com
              Augustus C. Epps, Jr.    on behalf of Defendant    Kost Klip Manufacturing, Ltd.
               aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.    on behalf of Creditor    Generation H One and Two Limited Partnership
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               avaughn@williamsmullen.com
              Augustus C. Epps, Jr.    on behalf of Defendant    American Power Conversion Corp.
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              Augustus C. Epps, Jr.    on behalf of Creditor    The Marvin L. Oates Trust
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              Augustus C. Epps, Jr.    on behalf of Creditor    The Macerich Company aepps@williamsmullen.com,
               avaughn@williamsmullen.com
              Augustus C. Epps, Jr.    on behalf of Creditor    Greenback Associates aepps@williamsmullen.com,
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              Augustus C. Epps, Jr.    on behalf of Transferee    412 South Broadway Realty LLC
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               avaughn@williamsmullen.com
              Augustus C. Epps, Jr.    on behalf of Creditor    Glimcher Properties Limited Partnership, as
               managing agent for WTM Glimcher LLC aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.    on behalf of Creditor    Portland Investment Company of America
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              Augustus C. Epps, Jr.    on behalf of Creditor    Crossroads Shopping Center
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              Augustus C. Epps, Jr.    on behalf of Creditor    Prado, llc aepps@williamsmullen.com,
               avaughn@williamsmullen.com
       Case 08-35653-KRH         Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                Desc
                                Imaged Certificate of Notice Page 7 of 61


District/off: 0422-7          User: garyl                 Page 4 of 58                 Date Rcvd: Jul 15, 2019
                              Form ID: pdford9            Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Augustus C. Epps, Jr.   on behalf of Transferor   Manufacturers and Traders Trust Company, as
               Trustee aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Union Square Retail Trust
               aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Morse-Sembler Villages Partnership #4
               aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Lexmark International, Inc.
               aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Defendant   Signature Home Furnishings Co. Inc.
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              Augustus C. Epps, Jr.   on behalf of Creditor   Perimeter Mall aepps@williamsmullen.com,
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              Augustus C. Epps, Jr.   on behalf of Creditor   Madison Waldorf, LLC aepps@williamsmullen.com,
               avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Redtree Properties, L.P. aepps@williamsmullen.com,
               avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Drexel Delaware Limited Partnership
               aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Inland US Management LLC aepps@williamsmullen.com,
               avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Defendant   Audio Authority Corporation
               aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Defendant   Lexmark International, Inc.
               aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Carousel Center Company, L.P.
               aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Gateway Center Properties III, LLC and SMR
               Gateway III, LLC as tenants in common aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Transferor   Manufactures and Traders Trust Company, as
               Trustee aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Tanglewood Park, LLC; Roth Tanglewood, LLC and
               Luckoff Land Company, LLC as tenants in common aepps@williamsmullen.com,
               avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   International Speedway Square, Ltd.
               aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Daniel W. Ramsey aepps@williamsmullen.com,
               avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   EEL McKee LLC aepps@williamsmullen.com,
               avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   NAP Northpoint, LLC aepps@williamsmullen.com,
               avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Macy’s Retail Holdings, Inc.
               aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Diamond Square, LLC aepps@williamsmullen.com,
               avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Amargosa Palmdale Investments, LLC
               aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Fingerlakes Crossing, LLC
               aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Tanglewood Park LLC aepps@williamsmullen.com,
               avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Starpoint Property Management, LLC
               aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   UnCommon, Ltd., a Florida Limited Partnership
               aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Prudential Insurance Company of America
               aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   American Power Conversion Corp.
               aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Manufacturers and Traders Trust Company, as
               Trustee aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Myrtle Beach Farms Co., Inc.
               aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Inland Commercial Property Management, Inc.
               aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Chung Hee Kim (Ridgehaven Plaza Shopping Center)
               aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Plaintiff   CC-Investors 1995-6 aepps@williamsmullen.com,
               avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Thoroughbred Village Tennessee, GP
               aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Hamilton Crossing I, LLC aepps@williamsmullen.com,
               avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Crossroads Associates, Ltd.
               aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Hamilton Crossing aepps@williamsmullen.com,
               avaughn@williamsmullen.com
       Case 08-35653-KRH         Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                Desc
                                Imaged Certificate of Notice Page 8 of 61


District/off: 0422-7          User: garyl                 Page 5 of 58                 Date Rcvd: Jul 15, 2019
                              Form ID: pdford9            Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Augustus C. Epps, Jr.   on behalf of Defendant   MediaNews Group, Inc. d/b/a Pioneer Press and
               St. Paul Pioneer Press aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Inland Continental Property Management Corp.
               aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Buzz Oates, LLC aepps@williamsmullen.com,
               avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Rancon Realty Fund IV aepps@williamsmullen.com,
               avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Inland Commercial Property Management, Inc.
               aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Catellus Operating Limited Partnership
               aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Argyle Forest Retail I, LLC
               aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   GRI-EQY (Sparkleberry Square) LLC
               aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Westgate Village, LLC aepps@williamsmullen.com,
               avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Defendant   CDW Direct, LLC aepps@williamsmullen.com,
               avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Interested Party   Manufacturers & Traders Trust Company, as
               Trustee aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Sangertown Square, L.L.C.
               aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Swanblossom Investments, LP
               aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Donahue Schriber Realty Group, L.P.
               aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Laurel Plumbing, Inc. aepps@williamsmullen.com,
               avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Generation One and Two, LP
               aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Glimcher Properties Limited Partnership, as
               managing Agent for Puente Hills Mall, LLC aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Kimco Realty Corporation aepps@williamsmullen.com,
               avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   1030 W. North Ave. Bldg. LLC
               aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Inland Southwest Management LLC, Inland American
               Retail Management LLC, Inland US Management LLC, Inland Pacific Property Services LLC, Inland
               Continental Property Management Corp., and Inland Commerc aepps@williamsmullen.com,
               avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Whitestone Development Partners, L.P.
               aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   De Rito Pavilions 139, LLC
               aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Kite Coral Springs, LLC aepps@williamsmullen.com,
               avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Myrtle Beach Farms aepps@williamsmullen.com,
               avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Inland American Retail Management LLC
               aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   N.P. Huntsville Limited Liability Company
               aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Audio Authority Corporation
               aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Union County Construction Group, Inc.
               aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Defendant   Solutions 2 Go, Inc. aepps@williamsmullen.com,
               avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   La Habra Imperial, LLC aepps@williamsmullen.com,
               avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   The West Campus Square Company, LLC
               aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Cohab Realty, LLC aepps@williamsmullen.com,
               avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Attorney   Christian & Barton, L.L.P.
               aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   CC-Investors 1995-6 aepps@williamsmullen.com,
               avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   KRG Market Street Village, LP
               aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Inland Pacific Property Services LLC
               aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Brighton Commercial, L.L.C.
               aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.   on behalf of Creditor   Bella Terra Associates, LLC
               aepps@williamsmullen.com, avaughn@williamsmullen.com
       Case 08-35653-KRH         Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                  Desc
                                Imaged Certificate of Notice Page 9 of 61


District/off: 0422-7          User: garyl                  Page 6 of 58                 Date Rcvd: Jul 15, 2019
                              Form ID: pdford9             Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Augustus C. Epps, Jr.    on behalf of Creditor    Inland Southwest Management LLC
               aepps@williamsmullen.com, avaughn@williamsmullen.com
              Augustus C. Epps, Jr.    on behalf of Creditor    EklecCo NewCo, LLC aepps@williamsmullen.com,
               avaughn@williamsmullen.com
              Augustus C. Epps, Jr.    on behalf of Attorney Augustus C. Epps, Jr. aepps@williamsmullen.com,
               avaughn@williamsmullen.com
              Augustus C. Epps, Jr.    on behalf of Creditor    Glimcher Properties Limited Partnership
               aepps@williamsmullen.com, avaughn@williamsmullen.com
              Belkys Escobar     on behalf of Creditor    County of Loudoun, Virginia Belkys.Escobar@loudoun.gov,
               bankrupt@loudoun.gov;Rachel.Healy@loudoun.gov;Ann.McCafferty@loudoun.gov
              Belkys Escobar     on behalf of Creditor    County of Loudoun, VA Belkys.Escobar@loudoun.gov,
               bankrupt@loudoun.gov;Rachel.Healy@loudoun.gov;Ann.McCafferty@loudoun.gov
              Benjamin C. Ackerly    on behalf of Creditor    Panasonic Corporation of North America
               backerly@hunton.com, cloving@hunton.com
              Benjamin C. Ackerly    on behalf of Defendant    Nikon, Inc. backerly@hunton.com,
               cloving@hunton.com
              Benjamin C. Ackerly    on behalf of Creditor    Harvest/HPE LP backerly@hunton.com,
               cloving@hunton.com
              Benjamin C. Ackerly    on behalf of Interested Party    Lowe’s HIW, Inc. backerly@hunton.com,
               cloving@hunton.com
              Benjamin C. Ackerly    on behalf of Creditor    Taubman Auburn Hills Associates Limited Partnership
               backerly@hunton.com, cloving@hunton.com
              Benjamin C. Ackerly    on behalf of Interested Party    CCDC Marion Portfolio, L.P.
               backerly@hunton.com, cloving@hunton.com
              Benjamin C. Ackerly    on behalf of Interested Party    Federal Warranty Service Corporation
               backerly@hunton.com, cloving@hunton.com
              Benjamin C. Ackerly    on behalf of Interested Party    Alvarez & Marsal Canada, ULC
               backerly@hunton.com, cloving@hunton.com
              Benjamin C. Ackerly    on behalf of Creditor    Cypress/CC Marion I, L.P. backerly@hunton.com,
               cloving@hunton.com
              Benjamin C. Ackerly    on behalf of Creditor    Galleria Plaza, Ltd. backerly@hunton.com,
               cloving@hunton.com
              Benjamin C. Ackerly    on behalf of Interested Party    Food Lion LLC backerly@hunton.com,
               cloving@hunton.com
              Benjamin Joseph Lambiotte    on behalf of Defendant    InFocus Corporation blambiotte@gsblaw.com
              Bhavik Dalpat Patel    on behalf of Defendant    MCM Electronics, Inc. bdp@lawmacdowell.com
              Brad R. Godshall    on behalf of Creditor Committee    Official Committee of Unsecured Creditors
               bgodshall@pszjlaw.com
              Bradford F. Englander    on behalf of Creditor    Source Interlink Media, LLC benglander@wtplaw.com,
               rodom@wtplaw.com
              Bradford F. Englander    on behalf of Creditor    Alliance Entertainment Corporation
               benglander@wtplaw.com, rodom@wtplaw.com
              Brenda M. Whinery    on behalf of Creditor    Windsail Properties bwhinery@mcrazlaw.com
              Brett Christopher Beehler    on behalf of Creditor    Prince George’s County, Maryland
               bbeehler@mrrlaw.net, lsansbury@mrrlaw.net
              Brett Christopher Beehler    on behalf of Creditor    Charles County, Maryland bbeehler@mrrlaw.net,
               lsansbury@mrrlaw.net
              Brian D. Huben    on behalf of Creditor    Prudential Insurance Company of America
               hubenb@ballardspahr.com, carolod@ballardspahr.com
              Brian D. Huben    on behalf of Creditor    The Macerich Company hubenb@ballardspahr.com,
               carolod@ballardspahr.com
              Brian D. Huben    on behalf of Creditor    KNP hubenb@ballardspahr.com, carolod@ballardspahr.com
              Brian D. Huben    on behalf of Creditor    Cousins Properties Incorporated hubenb@ballardspahr.com,
               carolod@ballardspahr.com
              Brian D. Huben    on behalf of Creditor    Watt Management Company hubenb@ballardspahr.com,
               carolod@ballardspahr.com
              Brian D. Huben    on behalf of Creditor    RREEF Management Company hubenb@ballardspahr.com,
               carolod@ballardspahr.com
              Brian D. Huben    on behalf of Creditor    Foursquare Properties, Inc. hubenb@ballardspahr.com,
               carolod@ballardspahr.com
              Brian D. Huben    on behalf of Creditor    Portland Investment Company of America
               hubenb@ballardspahr.com, carolod@ballardspahr.com
              Brian D. Wesley    on behalf of Defendant Christine Baker brian.wesley@doj.ca.gov
              Brian D. Wesley    on behalf of Defendant    California Self-Insurers Security Fund
               brian.wesley@doj.ca.gov
              Brittany Jane Nelson    on behalf of Creditor Karl Engelke bnelson@foley.com
              Byron Z. Moldo    on behalf of Creditor    RMRG Portfolio TIC, LLC bmoldo@ecjlaw.com,
               tmelendez@ecjlaw.com
              Byron Z. Moldo    on behalf of Creditor    Centre at 38th Street TIC, LLC bmoldo@ecjlaw.com,
               tmelendez@ecjlaw.com
              Byron Z. Moldo    on behalf of Creditor    The City Portfolio TIC, LLC bmoldo@ecjlaw.com,
               tmelendez@ecjlaw.com
              Byron Z. Moldo    on behalf of Creditor    Descanso TIC, LLC bmoldo@ecjlaw.com,
               tmelendez@ecjlaw.com
              C. Christopher Meyer    on behalf of Creditor    Wells Fargo Business Credit, Inc. cmeyer@ssd.com
              C. Christopher Meyer    on behalf of Creditor    Photoco, Inc. cmeyer@ssd.com
              Carl A. Eason    on behalf of Creditor    The Columbus Dispatch bankruptcy@wolriv.com
       Case 08-35653-KRH          Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                 Desc
                                Imaged Certificate of Notice Page 10 of 61


District/off: 0422-7          User: garyl                  Page 7 of 58                 Date Rcvd: Jul 15, 2019
                              Form ID: pdford9             Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Catherine Elizabeth Creely    on behalf of Creditor    GECMC 2005-C2 Eastex Freeway, LLC, a Texas
               Limited Liability Company ccreely@akingump.com
              Catherine Elizabeth Creely    on behalf of Creditor    CIM/Birch St., Inc. ccreely@akingump.com
              Catherine Elizabeth Creely    on behalf of Creditor    Golfsmith International, L.P.
               ccreely@akingump.com
              Chang Eugene    on behalf of Creditor    TKG Coffee Tree, L.P. echang@steinlubin.com
              Charles Gideon Korrell    on behalf of Creditor    Hoprock Limonite, LLC
               c.gideon.korrell@dentons.com, jocasta.wong@dentons.com;docket.general.lit.sf@dentons.com
              Charles W. Chotvacs    on behalf of Creditor    FJL-MVP, LLC cwchotvacs@gmail.com,
               aconway@taubman.com;Pollack@ballardspahr.com
              Charles W. Chotvacs    on behalf of Creditor    Uniwest Commercial Realty cwchotvacs@gmail.com,
               aconway@taubman.com;Pollack@ballardspahr.com
              Charles W. Chotvacs    on behalf of Creditor    OTR-Clairemont Square cwchotvacs@gmail.com,
               aconway@taubman.com;Pollack@ballardspahr.com
              Charles W. Chotvacs    on behalf of Creditor    Portland Investment Company of America
               cwchotvacs@gmail.com, aconway@taubman.com;Pollack@ballardspahr.com
              Charles W. Chotvacs    on behalf of Creditor    UBS Realty Investors, LLC cwchotvacs@gmail.com,
               aconway@taubman.com;Pollack@ballardspahr.com
              Charles W. Chotvacs    on behalf of Creditor    Federal Realty Investment Trust
               cwchotvacs@gmail.com, aconway@taubman.com;Pollack@ballardspahr.com
              Charles W. Chotvacs    on behalf of Creditor    Manteca Stadium Park, L.P. cwchotvacs@gmail.com,
               aconway@taubman.com;Pollack@ballardspahr.com
              Charles W. Chotvacs    on behalf of Creditor    The Morris Companies Affiliates
               cwchotvacs@gmail.com, aconway@taubman.com;Pollack@ballardspahr.com
              Charles W. Chotvacs    on behalf of Creditor    Laguna Gateway Phase 2, LP cwchotvacs@gmail.com,
               aconway@taubman.com;Pollack@ballardspahr.com
              Charles W. Chotvacs    on behalf of Creditor    Cousins Properties Incorporated
               cwchotvacs@gmail.com, aconway@taubman.com;Pollack@ballardspahr.com
              Charles W. Chotvacs    on behalf of Creditor    Centro Properties Group cwchotvacs@gmail.com,
               aconway@taubman.com;Pollack@ballardspahr.com
              Charles W. Chotvacs    on behalf of Creditor    RREEF Management Company cwchotvacs@gmail.com,
               aconway@taubman.com;Pollack@ballardspahr.com
              Charles W. Chotvacs    on behalf of Creditor    Watt Management Company cwchotvacs@gmail.com,
               aconway@taubman.com;Pollack@ballardspahr.com
              Charles W. Chotvacs    on behalf of Creditor    Cencor Realty cwchotvacs@gmail.com,
               aconway@taubman.com;Pollack@ballardspahr.com
              Charles W. Chotvacs    on behalf of Creditor    Bear Valley Road Partners LLC cwchotvacs@gmail.com,
               aconway@taubman.com;Pollack@ballardspahr.com
              Charles W. Chotvacs    on behalf of Creditor    GMS Golden Valley Ranch, LLC cwchotvacs@gmail.com,
               aconway@taubman.com;Pollack@ballardspahr.com
              Charles W. Chotvacs    on behalf of Creditor    NMC Stratford, LLC cwchotvacs@gmail.com,
               aconway@taubman.com;Pollack@ballardspahr.com
              Charles W. Chotvacs    on behalf of Creditor    The Hutensky Group cwchotvacs@gmail.com,
               aconway@taubman.com;Pollack@ballardspahr.com
              Charles W. Chotvacs    on behalf of Creditor    KNP cwchotvacs@gmail.com,
               aconway@taubman.com;Pollack@ballardspahr.com
              Charles W. Chotvacs    on behalf of Creditor    Simon Property Group, Inc. cwchotvacs@gmail.com,
               aconway@taubman.com;Pollack@ballardspahr.com
              Charles W. Chotvacs    on behalf of Creditor    Prudential Insurance Company of America
               cwchotvacs@gmail.com, aconway@taubman.com;Pollack@ballardspahr.com
              Charles W. Chotvacs    on behalf of Creditor Melvin Walton Hone cwchotvacs@gmail.com,
               aconway@taubman.com;Pollack@ballardspahr.com
              Charles W. Chotvacs    on behalf of Creditor    The Macerich Company cwchotvacs@gmail.com,
               aconway@taubman.com;Pollack@ballardspahr.com
              Christian K. Vogel    on behalf of Unknown    G&S Livingston Realty, Inc.
               kvogel@vogelandcromwell.com
              Christian K. Vogel    on behalf of Creditor    Circuit Investors #3, Ltd.
               kvogel@vogelandcromwell.com
              Christian K. Vogel    on behalf of Creditor    Circuit Investors #2, Ltd.
               kvogel@vogelandcromwell.com
              Christian K. Vogel    on behalf of Creditor    Schimenti Construction Company LLC
               kvogel@vogelandcromwell.com
              Christine D. Lynch    on behalf of Creditor    Interstate Augusta Properties LLC
               clynch@goulstonstorrs.com
              Christine D. Lynch    on behalf of Creditor    Ray Mucci’s Inc. clynch@goulstonstorrs.com
              Christine D. Lynch    on behalf of Creditor    NPP Development LLC clynch@goulstonstorrs.com
              Christine D. Lynch    on behalf of Creditor    E&A Northeast Limited Partnership
               clynch@goulstonstorrs.com
              Christine D. Lynch    on behalf of Creditor    Route 146 Millbury LLC clynch@goulstonstorrs.com
              Christine D. Lynch    on behalf of Creditor    S.R. Weiner & Associates Inc.
               clynch@goulstonstorrs.com
              Christine McAteer Ford    on behalf of Creditor Ada Alicea cford@mdpcelaw.com
              Christine McAteer Ford    on behalf of Creditor    Ada Alicea, on behalf of herself and all others
               similarly situated cford@mdpcelaw.com
              Christopher A. Jones    on behalf of Creditor    Moncayo Settlement Class cajones@wtplaw.com,
               clano@wtplaw.com
              Christopher A. Jones    on behalf of Creditor    TeleDynamics LLP cajones@wtplaw.com,
               clano@wtplaw.com
       Case 08-35653-KRH          Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                 Desc
                                Imaged Certificate of Notice Page 11 of 61


District/off: 0422-7          User: garyl                  Page 8 of 58                 Date Rcvd: Jul 15, 2019
                              Form ID: pdford9             Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Christopher A. Jones   on behalf of Creditor     Weidler Settlement Class cajones@wtplaw.com,
               clano@wtplaw.com
              Christopher A. Jones   on behalf of Creditor     Twentieth Century Fox Home Entertainment LLC
               cajones@wtplaw.com, clano@wtplaw.com
              Christopher A. Jones   on behalf of Creditor     Annapolis Plaza LLC cajones@wtplaw.com,
               clano@wtplaw.com
              Christopher Julian Hoctor    on behalf of Defendant    Moran Brown PC choctor@kv-legal.com
              Christopher L. Perkins    on behalf of Creditor    Schimenti Construction Company LLC
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Defendant    Parago Promotional Services, Inc
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Defendant    Yahoo! Inc. also dba YAHOO! Tech aka Yahoo
               Tech christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Defendant    Gannett Satellite Information Network, Inc.,
               dba Cincinnati Enquirer aka Cincinnati Direct Values christopher.perkins@leclairryan.com,
               stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Creditor    680 S. Lemon Ave. Co.
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Defendant    Schimenti Construction Company LLC
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Defendant    Altec Lansing Technologies, Inc.
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Creditor    Benenson Capital Company
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Creditor    Brandywine Grande C, L.P.
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Defendant    Phoenix Newspapers, Inc., dba The Arizona
               Republic christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Defendant    Pacific and Southern Company, Inc. d/b/a/ WXIA
               TV christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Defendant    Cisco Consumer Products, LLC f/k/a Linksys
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Defendant    Retail MDS, Inc.
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Interested Party Steven Ivester
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Defendant    Pure Digital Technologies, Inc.
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Defendant    Indiana Newspapers, Inc. d/b/a The Indianapolis
               Star christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Defendant    Cisco-Linksys, LLC
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Creditor    Olympus Corporation of the Americas
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Defendant    Gannett River States Publishing Corporation
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Defendant    Almo E-Commerce LLC
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Defendant    Sick, Inc. christopher.perkins@leclairryan.com,
               stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Defendant    Media Solutions Holdings, LLC
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Defendant    Osprey Audit Specialists, LLC
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Creditor    FM Facility Maintenance, f/k/a IPT, LLC
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Defendant    Netgear Inc.
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Plaintiff    Schimenti Construction Company LLC
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Defendant    Gannett Co., Inc. dba The Times
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Creditor    Olympus Corporation
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Defendant    WC Holdco, Inc. f/k/a Jack of All Games, Inc.,
               d/b/a Jack of All Games christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Creditor    Developers Realty, Inc.
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Creditor    Circuit Investors #2, Ltd.
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Creditor    CK Richmond Business Services #2, LLC
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Creditor    Plantronics, Inc.
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Defendant    Seagate Technology LLC
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Creditor    CC Kingsport 98, LLC
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
       Case 08-35653-KRH          Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                 Desc
                                Imaged Certificate of Notice Page 12 of 61


District/off: 0422-7          User: garyl                  Page 9 of 58                 Date Rcvd: Jul 15, 2019
                              Form ID: pdford9             Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Christopher L. Perkins    on behalf of Defendant    Time Warner Cable, LLC
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Creditor    Cardinal Capital Partners
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Defendant    Gannett Co., Inc. and Gannett River States
               Publishing Corporation, jointly and/or individually dba Gannett Suburban Newspapers; The Daily
               Advertiser; Lafayette Daily Advertiser; Daily World christopher.perkins@leclairryan.com,
               stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Defendant    Take Two Interactive Software, Inc., a/k/a Take
               Two Interactive christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Creditor    The Daniel Group
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Unknown    Osprey Audit Specialists, LLC
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Creditor    Fayetteville Developers, LLC
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Defendant    Multimedia Holdings Corporation, dba KUSA-TV
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Defendant    Haier America Trading L.L.C.
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Defendant    Cisco Systems, Inc.
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Transferee    Longacre Opportunity Fund, LP
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Defendant    Lee Enterprises, Incorporated
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Creditor    Seagate Technology, LLC
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Unknown    Creative Realty Management, LLC
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Defendant    Sharp Electronics Corporation
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Attorney    LeClair Ryan, A Professional Corporation
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Defendant    V.E.C., LLC dba Virginia Electronic Components
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Creditor    Westfield, LLC
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Creditor    Take Two Interactive Software, Inc.
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Creditor    CC - Virginia Beach, LLC
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Creditor    Eastern Security Corp.
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Movant Nina Winston christopher.perkins@leclairryan.com,
               stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Counter-Claimant    Sirius XM Radio Inc.
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Creditor    Cisco-Linksys, LLC
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Defendant    Gannett Co., Inc.
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Defendant    Jefferies Leveraged Credit Products, LLC
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Creditor    Rossmoor Shops, LLC
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Defendant    Gannett Co., Inc. dba Greenville News aka The
               Greenville News christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Defendant    Sirius XM Radio Inc.
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Creditor    The Balogh Companies
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Defendant    Parago, Inc.
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Defendant    eReplacements, LLC
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher L. Perkins    on behalf of Unknown    CP Nord du Lac JV, LLC
               christopher.perkins@leclairryan.com, stacy.beaulieu@leclairryan.com
              Christopher M. Desiderio    on behalf of Plaintiff    Greystone Data Systems, Inc.
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              Christopher M. Desiderio    on behalf of Creditor    TomTom, Inc. cdesiderio@nixonpeabody.com
              Christopher M. Desiderio    on behalf of Creditor    Greystone Data Systems, Inc.
               cdesiderio@nixonpeabody.com
              Christopher R. Belmonte    on behalf of Creditor    International Business Machines Corporation
               cbelmonte@ssbb.com, asnow@ssbb.com,pbosswick@ssbb.com,managingattorney@ssbb.com
              Christopher S. Colby    on behalf of Creditor    Alameda County Treasurer ccolby@vanblk.com
              City of Newport News, Virginia    jdurant@nngov.com
       Case 08-35653-KRH          Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                 Desc
                                Imaged Certificate of Notice Page 13 of 61


District/off: 0422-7          User: garyl                  Page 10 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9             Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Constantinos G. Panagopoulos    on behalf of Creditor    Berkshire Hyannis LLC cgp@ballardspahr.com,
               summersm@ballardspahr.com;pollack@ballardspahr.com;vincentf@ballardspahr.com
              Constantinos G. Panagopoulos    on behalf of Creditor    Federal Realty Investment Trust
               cgp@ballardspahr.com,
               summersm@ballardspahr.com;pollack@ballardspahr.com;vincentf@ballardspahr.com
              Constantinos G. Panagopoulos    on behalf of Creditor    Brixmor Property Group, Inc., f/k/a Centro
               Properties Group cgp@ballardspahr.com,
               summersm@ballardspahr.com;pollack@ballardspahr.com;vincentf@ballardspahr.com
              Constantinos G. Panagopoulos    on behalf of Creditor    Greece Ridge, LLC cgp@ballardspahr.com,
               summersm@ballardspahr.com;pollack@ballardspahr.com;vincentf@ballardspahr.com
              Constantinos G. Panagopoulos    on behalf of Creditor    Battlefield FE Limited Partners
               cgp@ballardspahr.com,
               summersm@ballardspahr.com;pollack@ballardspahr.com;vincentf@ballardspahr.com
              Constantinos G. Panagopoulos    on behalf of Creditor    Centro Properties Group
               cgp@ballardspahr.com,
               summersm@ballardspahr.com;pollack@ballardspahr.com;vincentf@ballardspahr.com
              Courtney E. Pozmantier    on behalf of Creditor    Paramount Home Entertainment
               cpozmantier@ktbslaw.com, mtuchin@ktbslaw.com
              Craig M. Palik   on behalf of Creditor     CC Hamburg NY Partners, LLC cpalik@mhlawyers.com,
               cpalik@yahoo.com;dmoorehead@mhlawyers.com;cpalik@ecf.inforuptcy.com;kmadden@mhlawyers.com;mnicker
               son@mhlawyers.com
              Craig M. Palik   on behalf of Creditor     Congressional North Associates Limited Partnership
               cpalik@mhlawyers.com,
               cpalik@yahoo.com;dmoorehead@mhlawyers.com;cpalik@ecf.inforuptcy.com;kmadden@mhlawyers.com;mnicker
               son@mhlawyers.com
              Curtis G. Manchester    on behalf of Defendant    Energizer Battery, Inc.
               curtis.manchester@kutakrock.com
              Curtis G. Manchester    on behalf of Defendant    Sony Computer Entertainment America Inc., A/K/A
               Sony Computer Entertainment, A/K/A SCEA curtis.manchester@kutakrock.com
              Curtis G. Manchester    on behalf of Defendant    Kingston Technology Co., Inc.
               curtis.manchester@kutakrock.com
              D. Marc Sarata     on behalf of Defendant    Bush Industries Inc. msarata@ltblaw.com,
               ndysart@ltblaw.com;plaura@ltblaw.com
              Daniel D. Prichard    on behalf of Defendant    Cox Media Group, Inc. and Cox Enterprises, Inc.,
               individually and/or jointly d/b/a The Atlanta Journal-Constitution and/or The Atlanta Newspapers
               ddprichard@gmail.com
              Daniel D. Prichard    on behalf of Defendant    KTVU, Inc. ddprichard@gmail.com
              Daniel D. Prichard    on behalf of Defendant    Cox Enterprises, Inc. d/b/a The Atlanta
               Journal-Constitution and/or The Atlanta Newspapers ddprichard@gmail.com
              Daniel D. Prichard    on behalf of Defendant    Midwest Television, Inc. d/b/a KFMB-TV
               ddprichard@gmail.com
              Daniel D. Prichard    on behalf of Defendant    WFTV, Inc. ddprichard@gmail.com
              Daniel D. Prichard    on behalf of Defendant    Cox Media Group, Inc. d/b/a Austin American
               Statesman ddprichard@gmail.com
              Daniel D. Prichard    on behalf of Defendant    Cox Media Group, Inc. d/b/a The Atlanta
               Journal-Constitution and/or The Atlanta Newspapers ddprichard@gmail.com
              Daniel D. Prichard    on behalf of Defendant    Cox Enterprises, Inc. d/b/a Austin American
               Statesman ddprichard@gmail.com
              Daniel D. Prichard    on behalf of Defendant    Palm Beach Newspapers, Inc. d/b/a The Palm Beach
               Post ddprichard@gmail.com
              Daniel D. Prichard    on behalf of Defendant    Dayton Newspapers, Inc. d/b/a Cox Ohio Publishing
               Dayton Daily News and d/b/a Dayton Daily News ddprichard@gmail.com
              Daniel D. Prichard    on behalf of Defendant    Cox Enterprises, Inc. and Cox Media Group, Inc.
               individually and/or jointly d/b/a Austin American Statesman ddprichard@gmail.com
              Daniel F. Blanks    on behalf of Debtor    Courchevel, LLC daniel.blanks@nelsonmullins.com,
               Allison.Abbott@nelsonmullins.com
              Daniel F. Blanks    on behalf of Debtor    Kinzer Technology, LLC daniel.blanks@nelsonmullins.com,
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              Daniel F. Blanks    on behalf of Debtor    PRAHS, INC. daniel.blanks@nelsonmullins.com,
               Allison.Abbott@nelsonmullins.com
              Daniel F. Blanks    on behalf of Debtor    Abbott Advertising Agency, Inc.
               daniel.blanks@nelsonmullins.com, Allison.Abbott@nelsonmullins.com
              Daniel F. Blanks    on behalf of Debtor    Mayland MN, LLC daniel.blanks@nelsonmullins.com,
               Allison.Abbott@nelsonmullins.com
              Daniel F. Blanks    on behalf of Debtor    Patapsco Designs, Inc. daniel.blanks@nelsonmullins.com,
               Allison.Abbott@nelsonmullins.com
              Daniel F. Blanks    on behalf of Defendant    Circuit City Stores, Inc.
               daniel.blanks@nelsonmullins.com, Allison.Abbott@nelsonmullins.com
              Daniel F. Blanks    on behalf of Plaintiff    Circuit City Stores, Inc.
               daniel.blanks@nelsonmullins.com, Allison.Abbott@nelsonmullins.com
              Daniel F. Blanks    on behalf of Debtor    XSStuff, LLC daniel.blanks@nelsonmullins.com,
               Allison.Abbott@nelsonmullins.com
              Daniel F. Blanks    on behalf of Debtor    Sky Venture Corp. daniel.blanks@nelsonmullins.com,
               Allison.Abbott@nelsonmullins.com
              Daniel M. Press    on behalf of Attorney Daniel M Press dpress@chung-press.com, pressdm@gmail.com
              Daniel M. Press    on behalf of Defendant    Bensussen Deutsch & Associates, Inc.
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       Case 08-35653-KRH          Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                 Desc
                                Imaged Certificate of Notice Page 14 of 61


District/off: 0422-7          User: garyl                  Page 11 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9             Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Daniel M. Press    on behalf of Defendant    B.R. Fries & Associates, LLC dpress@chung-press.com,
               pressdm@gmail.com
              Darek S. Bushnaq    on behalf of Defendant    ServicePower, Inc., aka ServicePower Inc.
               dsbushnaq@venable.com
              Darlene M. Nowak    on behalf of Creditor    Giant Eagle, Inc. nowak@marcus-shapira.com
              Darrell William Clark    on behalf of Defendant    Targus, Inc. darrell.clark@stinson.com,
               catherine.scott@stinson.com
              Darrell William Clark    on behalf of Creditor    Waste Management, Inc. darrell.clark@stinson.com,
               catherine.scott@stinson.com
              Darryl S. Laddin    on behalf of Creditor    Verizon Communications Inc. bkrfilings@agg.com
              David McCall     on behalf of Creditor    Garland ISD Tax Assessor/Collector
               bankruptcy@ntexas-attorneys.com
              David McCall     on behalf of Creditor    Collin County Tax Assessor/Collector
               bankruptcy@ntexas-attorneys.com
              David McCall     on behalf of Creditor    Frisco ISD Tax Assessor/Collector
               bankruptcy@ntexas-attorneys.com
              David McCall     on behalf of Creditor    City of Garland Tax Assessor/Collector
               bankruptcy@ntexas-attorneys.com
              David A. Greer    on behalf of Creditor    Pan Am Equities dgreer@davidgreerlaw.com,
               ecf@davidgreerlaw.com
              David A. Greer    on behalf of Creditor    Century plaza development corporation
               dgreer@davidgreerlaw.com, ecf@davidgreerlaw.com
              David B. Wheeler    on behalf of Creditor    South Carolina Electric & Gas Company and Public
               Service of North Carolina davidwheeler@mvalaw.com
              David D. Hopper    on behalf of Creditor    Rio Associates Limited Partnership ddhopper@chlhf.com,
               bhale@chlhf.com
              David Emmett Hawkins    on behalf of Creditor    Archon Group, L.P. dhawkins@velaw.com
              David H. Cox    on behalf of Creditor    610 & San Felipe, Inc. dcox@jackscamp.com,
               pdyson@jackscamp.com
              David H. Cox    on behalf of Creditor    Port Arthur Holdings, III, Ltd. dcox@jackscamp.com,
               pdyson@jackscamp.com
              David J. Ervin    on behalf of Creditor    General Growth Properties, Inc. dervin@kelleydrye.com,
               KDWBankruptcyDepartment@kelleydrye.com
              David J. Ervin    on behalf of Creditor    WEC 99A-2LLC dervin@kelleydrye.com,
               KDWBankruptcyDepartment@kelleydrye.com
              David J. Ervin    on behalf of Creditor    Weingarten Realty Investors and Its Affiliates
               dervin@kelleydrye.com, KDWBankruptcyDepartment@kelleydrye.com
              David J. Ervin    on behalf of Creditor    The MacNaughton Group dervin@kelleydrye.com,
               KDWBankruptcyDepartment@kelleydrye.com
              David J. Ervin    on behalf of Creditor    Basser-Kaufman dervin@kelleydrye.com,
               KDWBankruptcyDepartment@kelleydrye.com
              David J. Ervin    on behalf of Creditor    Developers Diversified Realty Corporation
               dervin@kelleydrye.com, KDWBankruptcyDepartment@kelleydrye.com
              David J. Ervin    on behalf of Creditor    Continental Properties Company, Inc.
               dervin@kelleydrye.com, KDWBankruptcyDepartment@kelleydrye.com
              David J. Ervin    on behalf of Creditor    Philips International dervin@kelleydrye.com,
               KDWBankruptcyDepartment@kelleydrye.com
              David J. Ervin    on behalf of Creditor    Ashkenazy Management Corp. dervin@kelleydrye.com,
               KDWBankruptcyDepartment@kelleydrye.com
              David J. Ervin    on behalf of Professional Alfred H. Siegel dervin@kelleydrye.com,
               KDWBankruptcyDepartment@kelleydrye.com
              David J. Ervin    on behalf of Creditor    S.J. Collins Enterprises, Goodman Enterprises, DeHart
               Holdings and Weeks Properties CG Holdings dervin@kelleydrye.com,
               KDWBankruptcyDepartment@kelleydrye.com
              David J. Ervin    on behalf of Creditor    The Woodmont Company dervin@kelleydrye.com,
               KDWBankruptcyDepartment@kelleydrye.com
              David J. Ervin    on behalf of Creditor    Benderson Development Company, LLC dervin@kelleydrye.com,
               KDWBankruptcyDepartment@kelleydrye.com
              David J. Ervin    on behalf of Creditor    FW CA-BREA Marketplace, LLC, Regency Centers, L.P. and
               RC CA Santa Barbara, LLC dervin@kelleydrye.com, KDWBankruptcyDepartment@kelleydrye.com
              David J. Ervin    on behalf of Creditor    Regency Centers, L.P. dervin@kelleydrye.com,
               KDWBankruptcyDepartment@kelleydrye.com
              David J. Ervin    on behalf of Creditor    Jones Lang LaSalle Americas, Inc. dervin@kelleydrye.com,
               KDWBankruptcyDepartment@kelleydrye.com
              David K. Spiro    on behalf of Defendant    United States Debt Recovery LLC dspiro@hf-law.com,
               rmcburney@hf-law.com;rmcburney67@gmail.com
              David K. Spiro    on behalf of Defendant    eGain Communications Corp., a/k/a Egain Communications
               and Eagin Communications dspiro@hf-law.com, rmcburney@hf-law.com;rmcburney67@gmail.com
              David K. Spiro    on behalf of Defendant    United States Debt Recovery III, LLP dspiro@hf-law.com,
               rmcburney@hf-law.com;rmcburney67@gmail.com
              David K. Spiro    on behalf of Transferee    US Debt Recovery LLC dspiro@hf-law.com,
               rmcburney@hf-law.com;rmcburney67@gmail.com
              David M. Poitras    on behalf of Interested Party    THQ, Inc. dmp@jmbm.com
              David N. Tabakin    on behalf of Trustee    Circuit City Stores, Inc. Liquidating Trust
               dtabakin@tb-lawfirm.com,
               pberan@tb-lawfirm.com;ltavenner@tb-lawfirm.com;amorris@tb-lawfirm.com;sdigiorgio@tb-lawfirm.com;l
               nelson@tb-lawfirm.com
       Case 08-35653-KRH         Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                 Desc
                               Imaged Certificate of Notice Page 15 of 61


District/off: 0422-7          User: garyl                 Page 12 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9            Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              David R. Ruby    on behalf of Defendant    SanDisk Corporation druby@t-mlaw.com,
               bankruptcyassistant@t-mlaw.com;druby@ecf.epiqsystems.com
              David R. Ruby    on behalf of Defendant    Lite-On Sales & Distribution Inc., also known as LSDI
               druby@t-mlaw.com, bankruptcyassistant@t-mlaw.com;druby@ecf.epiqsystems.com
              David R. Ruby    on behalf of Creditor    SanDisk Corporation druby@t-mlaw.com,
               bankruptcyassistant@t-mlaw.com;druby@ecf.epiqsystems.com
              David R. Ruby    on behalf of Defendant    R-Pac International Corp. druby@t-mlaw.com,
               bankruptcyassistant@t-mlaw.com;druby@ecf.epiqsystems.com
              David R. Ruby    on behalf of Creditor    Holyoke Crossing Limited Partnership II druby@t-mlaw.com,
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       Case 08-35653-KRH          Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                 Desc
                                Imaged Certificate of Notice Page 16 of 61


District/off: 0422-7          User: garyl                  Page 13 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9             Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
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       Case 08-35653-KRH          Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                 Desc
                                Imaged Certificate of Notice Page 17 of 61


District/off: 0422-7          User: garyl                  Page 14 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9             Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
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       Case 08-35653-KRH         Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                 Desc
                               Imaged Certificate of Notice Page 18 of 61


District/off: 0422-7          User: garyl                 Page 15 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9            Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
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              Franklin R. Cragle, III    on behalf of Creditor    Ubisoft, Inc. fcragle@hf-law.com
              Franklin R. Cragle, III    on behalf of Creditor    United States Debt Recovery, LLC
               fcragle@hf-law.com
              Franklin R. Cragle, III    on behalf of Defendant    Old Republic Insurance Company
               fcragle@hf-law.com
              Fred B. Ringel    on behalf of Creditor    F&M Properties, Inc. fbr@robinsonbrog.com
              Frederick Francis Rudzik    on behalf of Defendant    State of Florida, Department of Revenue
               rudzikf@dor.state.fl.us
              Fredrick J. Levy    on behalf of Creditor    ON Corp US, Inc. & ON Corp fjlevy@olshanlaw.com,
               mmarck@olshanlaw.com;ssallie@olshanlaw.com
              Fredrick J. Levy    on behalf of Creditor    Bush Industries, Inc. fjlevy@olshanlaw.com,
               mmarck@olshanlaw.com;ssallie@olshanlaw.com
       Case 08-35653-KRH          Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                 Desc
                                Imaged Certificate of Notice Page 19 of 61


District/off: 0422-7          User: garyl                  Page 16 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9             Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Garren Robert Laymon    on behalf of Creditor    Pasadena Independent School District
               glaymon@mglspc.com, jcoffman@mglspc.com
              Garren Robert Laymon    on behalf of Creditor    Arlington ISD, et al. glaymon@mglspc.com,
               jcoffman@mglspc.com
              Garren Robert Laymon    on behalf of Creditor    Fort Bend Independent School District
               glaymon@mglspc.com, jcoffman@mglspc.com
              Gary E. Mason    on behalf of Creditor Marlon Mondragon gmason@wbmllp.com
              Gary E. Mason    on behalf of Plaintiff Marlon Mondragon gmason@wbmllp.com
              Gary M. Kaplan    on behalf of Creditor    ELL MCKEE LLC gkaplan@fbm.com, calendar@fbm.com
              Gary V. Fulghum    on behalf of Creditor    John Rohrer Contracting Company, Inc.
               gfulghum@sblsg.com, jschmeltz@sblsg.com;jrapp@sblsg.com
              Gary V. Fulghum    on behalf of Creditor    Hillson Electric Incorporated gfulghum@sblsg.com,
               jschmeltz@sblsg.com;jrapp@sblsg.com
              Gary V. Fulghum    on behalf of Creditor    Lang Construction, Inc. gfulghum@sblsg.com,
               jschmeltz@sblsg.com;jrapp@sblsg.com
              George E. Kostel    on behalf of Unknown    KeyBank National Association gkostel@polsinelli.com,
               gekostel@gmail.com
              German Yusufov     on behalf of Creditor    Pima County pcaocvbk@pcao.pima.gov,
               alison.moreno@pcao.pima.gov
              Gilbert Barnett Weisman    on behalf of Creditor    American Express Travel Related Services Co Inc
               notices@becket-lee.com
              Gilbert Barnett Weisman    on behalf of Creditor    American Express Travel Related Services Co Inc
               Corp Card notices@becket-lee.com
              Gilbert D. Sigala    on behalf of Creditor John Batioff sigalaw1@aol.com
              Gillian N. Brown    on behalf of Creditor Committee    Official Committee of Unsecured Creditors
               gbrown@pszjlaw.com
              Gina Baker Hantel    on behalf of Defendant    State of Tennessee Department of Revenue,through
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              Gina Baker Hantel    on behalf of Creditor    Tennessee Department of Treasury-Unclaimed Property
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              Gina Baker Hantel    on behalf of Creditor    Tennessee Dept. Of Revenue agbankcal@ag.tn.gov
              Gina M Fornario    on behalf of Creditor    California Self-Insurers’ Security Fund
               gfornario@nixonpeabody.com, khall@nixonpeabody.com;sf.managing.clerk@nixonpeabody.com
              Glenn H. Silver    on behalf of Creditor    CC Joilet Trust ctbghs@aol.com,
               christine@virginia-lawyers.net
              Gordon S. Woodward    on behalf of Creditor    Commerce Technologies, Inc. gwoodward@schnader.com
              Gregory D. Grant    on behalf of Defendant    S.M. Wilson & Co., a/k/a S.M. Wilson & Company
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              H. Elizabeth Weller    on behalf of Creditor    Smith County Dallas.Bankruptcy@publicans.com
              H. Elizabeth Weller    on behalf of Creditor    Longview ISD Dallas.Bankruptcy@publicans.com
              H. Slayton Dabney, Jr.    on behalf of Creditor    Applied Predictive Technologies, Inc.
               sdabney@dabneypllc.com
              Hale Yazicioglu     on behalf of Creditor    AVR CPC Associates, LLC hyazicioglu@jshllp.com
              Heather D. Brown    on behalf of Creditor    Westgate Village, LP heather@hdbrownlaw.com,
               jwest@kkgpc.com
              Heather Lynn Anderson    on behalf of Creditor    State of New Jersey - Dept. of Treasury
               Heather.Anderson@dol.lps.state.nj.us
              Heather Lynn Anderson    on behalf of Creditor    State of New Jersey, Division of Taxation
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              Henry Buswell Roberts, Jr    on behalf of Defendant    Mannington Carpets, Inc., d/b/a Mannington
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              Henry Buswell Roberts, Jr    on behalf of Defendant    Sykes Enterprises Incorporated f/k/a ICT
               Group, Inc. hbroberts@live.com, droberts1949@live.com
              Henry Buswell Roberts, Jr    on behalf of Creditor    Suemar hbroberts@live.com,
               droberts1949@live.com
              Henry Buswell Roberts, Jr    on behalf of Defendant    Homerun Holdings Corp., fka Wayne-Dalton
               Corporation hbroberts@live.com, droberts1949@live.com
              Henry Buswell Roberts, Jr    on behalf of Interested Party    Sykes Enterprises Incorporated f/k/a
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              Henry Buswell Roberts, Jr    on behalf of Defendant    Liquidity Solutions, Inc. hbroberts@live.com,
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              Henry P. Baer    on behalf of Creditor    Bell’O International Corp. CSommer@fdh.com,
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              Henry Pollard Long, III    on behalf of Defendant    Panasonic Corporation of North America
               hlong@huntonAK.com, tcanada@huntonAK.com
              Henry Pollard Long, III    on behalf of Creditor    Galleria Plaza, Ltd. hlong@huntonAK.com,
               tcanada@huntonAK.com
              Henry Pollard Long, III    on behalf of Interested Party    Parker Central Plaza Ltd
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              Henry Pollard Long, III    on behalf of Creditor    Panasonic Corporation of North America
               hlong@huntonAK.com, tcanada@huntonAK.com
              Henry Pollard Long, III    on behalf of Creditor    Cypress/CC Marion I, L.P. hlong@huntonAK.com,
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              Henry Pollard Long, III    on behalf of Interested Party    Food Lion LLC hlong@huntonAK.com,
               tcanada@huntonAK.com
              Henry Pollard Long, III    on behalf of Interested Party    Alvarez & Marsal Canada, ULC
               hlong@huntonAK.com, tcanada@huntonAK.com
       Case 08-35653-KRH          Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                 Desc
                                Imaged Certificate of Notice Page 20 of 61


District/off: 0422-7          User: garyl                  Page 17 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9             Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Henry Pollard Long, III    on behalf of Creditor    Taubman Auburn Hills Associates Limited
               Partnership hlong@huntonAK.com, tcanada@huntonAK.com
              Henry Pollard Long, III    on behalf of Creditor    H & R REIT (U.S.) Holdings Inc.
               hlong@huntonAK.com, tcanada@huntonAK.com
              Henry Pollard Long, III    on behalf of Interested Party    CCDC Marion Portfolio, L.P.
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              Henry Pollard Long, III    on behalf of Creditor    Harvest/HPE LP hlong@huntonAK.com,
               tcanada@huntonAK.com
              Henry Pollard Long, III    on behalf of Interested Party    Federal Warranty Service Corporation
               hlong@huntonAK.com, tcanada@huntonAK.com
              Howard J. Grossman    on behalf of Creditor    J.P. Morgan Chase Bank, N.A.
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              Ian S. Landsberg    on behalf of Creditor    NMC Stratford, LLC ilandsberg@landsberg-law.com
              Ian S. Landsberg    on behalf of Creditor    Eagleridge Associates, LLC ilandsberg@landsberg-law.com
              J. Christian Word    on behalf of Liquidator    Gordon Brothers Retail Partners, LLC
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              J. Christian Word    on behalf of Liquidator    Hilco Merchant Resources, LLC
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              J. David Folds    on behalf of Defendant    Fabrik, Inc. dfolds@bakerdonelson.com,
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              J. David Folds    on behalf of Defendant    Simpletech, Inc. dfolds@bakerdonelson.com,
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              J. David Folds    on behalf of Defendant    Interactive Communications International, Inc.
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              J. David Folds    on behalf of Defendant    Hitachi Global Storage Technologies, Inc.
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              Jackson David Toof    on behalf of Defendant    Discovery Communications, Inc.
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              Jackson David Toof    on behalf of Creditor    Discovery Communications, Inc.
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              Jaime Manuel Crowe    on behalf of Unknown    Toshiba America Electronic Components, Inc.
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              Jaime Manuel Crowe    on behalf of Unknown    Toshiba Corporation jcrowe@whitecase.com,
               mco@whitecase.com;jdisanti@whitecase.com
              Jaime Sue Dibble    on behalf of Interested Party    Garmin International, Inc. jdibble@stinson.com,
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               James.Newbold@illinois.gov
              James D. Newbold    on behalf of Counter-Claimant    State of Illinois Department of Revenue,
               through Brian Hamer, its Director James.Newbold@illinois.gov
              James E. Clarke    on behalf of Interested Party    Bond-Circuit IX Delaware Business Trust
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              James E. Clarke    on behalf of Interested Party    Brick-70, LLC vaecf@atlanticlawgrp.com,
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              James H. Rollins    on behalf of Creditor    Plaza Las Americas, Inc. jim.rollins@hklaw.com,
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              James J. Briody    on behalf of Creditor    Ronus Meyerland Plaza L.P. jim.briody@sablaw.com,
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              James J. Briody    on behalf of Creditor    Johnson City Crossing, L.P. jim.briody@sablaw.com,
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              James J. Briody    on behalf of Creditor    LNR Partners, Inc. jim.briody@sablaw.com,
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              James K. Donaldson    on behalf of Defendant    Solutions 2 Go, Inc. jdonaldson@cblaw.com,
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              James R. Schroll    on behalf of Defendant    CORMARK, Inc. jschroll@beankinney.com,
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              James R. Schroll    on behalf of Creditor    Madison Waldorf, LLC jschroll@beankinney.com,
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              James V. Lombardi    on behalf of Creditor    AmREIT, a Texas real estate investment trust
               jlombardi@rossbanks.com, acole@rossbanks.com
              James W. Reynolds    on behalf of Defendant    Leggett & Platt, Inc., dba Beeline Group, a division
               of Leggett & Platt, Inc. jim.reynolds@ofplaw.com
              James Winston Burke    on behalf of Creditor    MiTAC Digital Corp. (Magellan) jburke@orrick.com
              James Winston Burke    on behalf of Attorney    Mio Technology USA Ltd. also known as MiTAC USA
               Inc. jburke@orrick.com
              James Winston Burke    on behalf of Attorney    Orrick, Herrington & Sutcliffe LLP jburke@orrick.com
              James Winston Burke    on behalf of Defendant    MiTac USA, Inc. d/b/a Mio Technology USA, Ltd.
               jburke@orrick.com
              James Winston Burke    on behalf of Creditor    Nintendo of America, Inc. jburke@orrick.com
              James Winston Burke    on behalf of Defendant    MiTAC Digital Corporation, individually and
               including in its capacity as successor to Magellan Navigation, Inc. jburke@orrick.com
              James Winston Burke    on behalf of Defendant    Nintendo of America, Inc. jburke@orrick.com
       Case 08-35653-KRH         Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                 Desc
                               Imaged Certificate of Notice Page 21 of 61


District/off: 0422-7          User: garyl                 Page 18 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9            Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Jamie M. Konn    on behalf of Defendant    Polk Audio, Inc. jamie.konn@dlapiper.com,
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              Jamie M. Konn    on behalf of Defendant    DEI Holdings, Inc. f/k/a Direct Electronics, Inc.
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              Janet M. Meiburger, Esq.    on behalf of Creditor    Tribune Company admin@meiburgerlaw.com
              Janet M. Meiburger, Esq.    on behalf of Creditor    Ricmac Equities Corporation
               admin@meiburgerlaw.com
              Jason B. Binford    on behalf of Creditor    BB Fonds International 1 USA, L.P. jbinford@krcl.com,
               ecf@krcl.com
              Jason B. Binford    on behalf of Creditor    Phoenix Property Company jbinford@krcl.com,
               ecf@krcl.com
              Jason M. Krumbein    on behalf of Creditor Jonathan Card jkrumbein@krumbeinlaw.com,
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              Jason M. Krumbein    on behalf of Creditor Robert Gentry jkrumbein@krumbeinlaw.com,
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              Jason M. Krumbein    on behalf of Creditor Joseph Skaf jkrumbein@krumbeinlaw.com,
               a30156@yahoo.com
              Jason M. Krumbein    on behalf of Creditor Jack Hernandez jkrumbein@krumbeinlaw.com,
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              Jason William Harbour    on behalf of Defendant    Virgin Mobile USA, L.P. jharbour@huntonAK.com,
               tcanada@huntonAK.com
              Jason William Harbour    on behalf of Creditor    Public Company Accounting Oversight Board
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              Jeffrey Kurtzman     on behalf of Creditor    THE GOLDENBERG GROUP kurtzman@kurtzmansteady.com
              Jeffrey Kurtzman     on behalf of Creditor    Red Rose Commons Associates, L.P.
               kurtzman@kurtzmansteady.com
              Jeffrey Kurtzman     on behalf of Creditor    PREIT SERVICES, LLC kurtzman@kurtzmansteady.com
              Jeffrey Scharf     on behalf of Creditor    Commonwealth of Virginia, Department of Taxation
               jeff@taxva.com, tacspc@gmail.com;amanda@taxva.com
              Jeffrey Scharf     on behalf of Creditor    County of Spokane jeff@taxva.com,
               tacspc@gmail.com;amanda@taxva.com
              Jeffrey Scharf     on behalf of Creditor    City of Fredericksburg, VA jeff@taxva.com,
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              Jeffrey A. Krieger    on behalf of Creditor    Southwinds. Ltd. jkrieger@greenbergglusker.com,
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              Jeffrey E. Klusmeier    on behalf of Creditor    Missouri Attorney General’s Office
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              Jeffrey I. Snyder    on behalf of Interested Party    CMAT 1999-C1 GRAND RIVER AVENUE LLC
               jsnyder@bilzin.com, eservice@bilzin.com;lflores@bilzin.com
              Jeffrey I. Snyder    on behalf of Creditor    CCMS 2005 CD1 Hale Road LLC jsnyder@bilzin.com,
               eservice@bilzin.com;lflores@bilzin.com
              Jeffrey I. Snyder    on behalf of Creditor    Wells Fargo Bank, N.A., as Trustee for the Registered
               Holders of J.P. Morgan Chase Commercial Mortgage Securities Corp., Commercial Mortgage
               Pass-Through Certificates, Series 2002-CIBC4 jsnyder@bilzin.com,
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              Jeffrey I. Snyder    on behalf of Creditor    CMAT 1999 C2 Ridgeland Retail LLC jsnyder@bilzin.com,
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              Jeffrey I. Snyder    on behalf of Creditor    LNR Partners, Inc. jsnyder@bilzin.com,
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              Jeffrey I. Snyder    on behalf of Creditor    CMAT 1999 C1 Kelly Road, LLC jsnyder@bilzin.com,
               eservice@bilzin.com;lflores@bilzin.com
              Jeffrey I. Snyder    on behalf of Creditor    WBCMT 2005-C21 South Ocean Gate Avenue Limited
               Partnership jsnyder@bilzin.com, eservice@bilzin.com;lflores@bilzin.com
              Jeffrey I. Snyder    on behalf of Creditor    CMAT 1999 C2 Lawrence Road LLC jsnyder@bilzin.com,
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              Jeffrey I. Snyder    on behalf of Creditor    CSFB 2005-C1 Shoppes of Plantation Acres, LLC
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              Jeffrey I. Snyder    on behalf of Creditor    GECMC 2005 C2 Parent LLC jsnyder@bilzin.com,
               eservice@bilzin.com;lflores@bilzin.com
              Jeffrey I. Snyder    on behalf of Creditor    CMAT 1999 C2 Bustleton Avenue Limited Partnership
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              Jeffrey I. Snyder    on behalf of Creditor    CCMS 2005 CD1 Lycoming Mall Circle Limited
               Partnership jsnyder@bilzin.com, eservice@bilzin.com;lflores@bilzin.com
              Jeffrey I. Snyder    on behalf of Creditor    GECMC 2005 C2 Hickory Hollow LLC jsnyder@bilzin.com,
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              Jeffrey J. Graham    on behalf of Creditor    Washington Corner, LP jgraham@taftlaw.com,
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              Jeffrey L. Tarkenton    on behalf of Creditor    Amcor Sunclipse North America
               Jeffrey.tarkenton@wbd-us.com,
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               .com;njohnson@spectorjohnson.com
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       Case 08-35653-KRH          Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                 Desc
                                Imaged Certificate of Notice Page 22 of 61


District/off: 0422-7          User: garyl                  Page 19 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9             Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Jeffrey L. Tarkenton    on behalf of Defendant    Acer America Corporation jtarkenton@wcsr.com,
               karla.radtke@wbd-us.com;cathy.hinger@wbd-us.com;Sonja.milutinovic@wbd-us.com;Jackson.price@wbd-us
               .com;njohnson@spectorjohnson.com
              Jeffrey L. Tarkenton    on behalf of Defendant    New York Times Distribution Corporation
               jtarkenton@wcsr.com,
               karla.radtke@wbd-us.com;cathy.hinger@wbd-us.com;Sonja.milutinovic@wbd-us.com;Jackson.price@wbd-us
               .com;njohnson@spectorjohnson.com
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               Pennsylvania jtarkenton@wcsr.com,
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               .com;njohnson@spectorjohnson.com
              Jeffrey L. Tarkenton    on behalf of Defendant    Specific Media LLC jtarkenton@wcsr.com,
               karla.radtke@wbd-us.com;cathy.hinger@wbd-us.com;Sonja.milutinovic@wbd-us.com;Jackson.price@wbd-us
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              Jeffrey L. Tarkenton    on behalf of Defendant    MaineToday Media, Inc. jtarkenton@wcsr.com,
               karla.radtke@wbd-us.com;cathy.hinger@wbd-us.com;Sonja.milutinovic@wbd-us.com;Jackson.price@wbd-us
               .com;njohnson@spectorjohnson.com
              Jeffrey L. Tarkenton    on behalf of Defendant    Globe Newspaper Company, Inc. jtarkenton@wcsr.com,
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               .com;njohnson@spectorjohnson.com
              Jeffrey L. Tarkenton    on behalf of Defendant    New York Times Distribution Corp.
               jtarkenton@wcsr.com,
               karla.radtke@wbd-us.com;cathy.hinger@wbd-us.com;Sonja.milutinovic@wbd-us.com;Jackson.price@wbd-us
               .com;njohnson@spectorjohnson.com
              Jeffrey L. Tarkenton    on behalf of Creditor    Gateway, Inc. Jeffrey.tarkenton@wbd-us.com,
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               .com;njohnson@spectorjohnson.com
              Jeffrey L. Tarkenton    on behalf of Creditor    Acer American Holdings Corp.
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               karla.radtke@wbd-us.com;cathy.hinger@wbd-us.com;Sonja.milutinovic@wbd-us.com;Jackson.price@wbd-us
               .com;njohnson@spectorjohnson.com
              Jeffrey L. Tarkenton    on behalf of Defendant    The New York Times Company jtarkenton@wcsr.com,
               karla.radtke@wbd-us.com;cathy.hinger@wbd-us.com;Sonja.milutinovic@wbd-us.com;Jackson.price@wbd-us
               .com;njohnson@spectorjohnson.com
              Jeffrey M. Sherman    on behalf of Creditor    Central Investments, LLC jeffreymsherman@gmail.com,
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              Jeffrey N. Pomerantz    on behalf of Creditor Committee    Official Committee of Unsecured
               Creditors jpomerantz@pszjlaw.com
              Jenelle Marie Dennis    on behalf of Creditor    Manteca Stadium Park, L.P.
               dennisj@ballardspahr.com, pollack@ballardspahr.com
              Jenelle Marie Dennis    on behalf of Creditor    Sweetwater Associates, L.P.
               dennisj@ballardspahr.com, pollack@ballardspahr.com
              Jenelle Marie Dennis    on behalf of Creditor    Federal Realty Investment Trust
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              Jenelle Marie Dennis    on behalf of Creditor    The Hutensky Group dennisj@ballardspahr.com,
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              Jenelle Marie Dennis    on behalf of Creditor    GMS Golden Valley Ranch, LLC
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              Jenelle Marie Dennis    on behalf of Creditor    The Macerich Company dennisj@ballardspahr.com,
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              Jenelle Marie Dennis    on behalf of Creditor    Centro Properties Group dennisj@ballardspahr.com,
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              Jenelle Marie Dennis    on behalf of Creditor    The Morris Companies Affiliates
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              Jenelle Marie Dennis    on behalf of Creditor    Laguna Gateway Phase 2, LP
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              Jenelle Marie Dennis    on behalf of Creditor    Prudential Insurance Company of America
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              Jenelle Marie Dennis    on behalf of Creditor    Cencor Realty dennisj@ballardspahr.com,
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              Jenelle Marie Dennis    on behalf of Creditor    Watt Management Company dennisj@ballardspahr.com,
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              Jenelle Marie Dennis    on behalf of Creditor    Uniwest Commercial Realty dennisj@ballardspahr.com,
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              Jenelle Marie Dennis    on behalf of Creditor    UBS Realty Investors, LLC dennisj@ballardspahr.com,
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              Jenelle Marie Dennis    on behalf of Creditor    Foursquare Properties Inc.
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              Jenelle Marie Dennis    on behalf of Creditor    Point West Plaza II Investors
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              Jenelle Marie Dennis    on behalf of Creditor    Bear Valley Road Partners LLC
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              Jenelle Marie Dennis    on behalf of Creditor    Cousins Properties Incorporated
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              Jenelle Marie Dennis    on behalf of Creditor    Torrance Towne Center Associates, LLC
               dennisj@ballardspahr.com, pollack@ballardspahr.com
       Case 08-35653-KRH         Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                Desc
                               Imaged Certificate of Notice Page 23 of 61


District/off: 0422-7          User: garyl                 Page 20 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9            Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Jenelle Marie Dennis   on behalf of Creditor    RREEF Management Company dennisj@ballardspahr.com,
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              Jenelle Marie Dennis   on behalf of Creditor    OTR-Clairemont Square dennisj@ballardspahr.com,
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              Jenelle Marie Dennis   on behalf of Creditor    KNP dennisj@ballardspahr.com,
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              Jennifer Ellis Lattimore   on behalf of Creditor    Vizio, Inc. jlattimore@eckertseamans.com
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              Jennifer Larkin Kneeland   on behalf of Defendant    Newsday Holdings LLC and Newsday LLC
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              Jennifer Larkin Kneeland   on behalf of Defendant    Rainbow Media Holdings LLC dba AMC
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              Jennifer McLain McLemore   on behalf of Creditor    Tanglewood Park, LLC
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              Jennifer McLain McLemore   on behalf of Creditor    Portland Investment Company of America
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              Jennifer McLain McLemore   on behalf of Defendant    Swiff-Train Company
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              Jennifer McLain McLemore   on behalf of Creditor    Inland Western Oswego Gerry Centennial, L.L.C.
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              Jennifer McLain McLemore   on behalf of Defendant    Vonwin Capital Management, L.P.
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       Case 08-35653-KRH         Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                Desc
                               Imaged Certificate of Notice Page 24 of 61


District/off: 0422-7          User: garyl                 Page 21 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9            Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Jennifer McLain McLemore   on behalf of Creditor   Luckoff Land Company, LLC
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              Jennifer McLain McLemore   on behalf of Creditor   Inland Western San Antonio HQ Limited
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              Jennifer McLain McLemore   on behalf of Defendant   McClatchy Newspapers, Inc. dba The Sacramento
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              Jennifer McLain McLemore   on behalf of Creditor   Drexel Delaware Limited Partnership
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              Jennifer McLain McLemore   on behalf of Creditor   Inland Western Richmond Maryland, L.L.C.
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              Jennifer McLain McLemore   on behalf of Creditor   CC Acquisition, L.P.
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              Jennifer McLain McLemore   on behalf of Creditor   GRI EQY Sparkleberry Square LLC
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              Jennifer McLain McLemore   on behalf of Creditor   Tacoma News, Inc. jmclemore@williamsmullen.com,
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              Jennifer McLain McLemore   on behalf of Creditor   Bel Air Square LLC
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              Jennifer McLain McLemore   on behalf of Creditor   Myrtle Beach Sun News
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              Jennifer McLain McLemore   on behalf of Creditor   Media General, Inc.
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              Jennifer McLain McLemore   on behalf of Creditor   CC-Investors 1995-6
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              Jennifer McLain McLemore   on behalf of Creditor   Inland Western Houma Magnolia, L.L.C.
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              Jennifer McLain McLemore   on behalf of Defendant   The McClatchy Company dba The Charlotte
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       Case 08-35653-KRH         Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                Desc
                               Imaged Certificate of Notice Page 25 of 61


District/off: 0422-7          User: garyl                 Page 22 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9            Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Jennifer McLain McLemore   on behalf of Defendant   Carlson Marketing Worldwide, Inc., fka
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              Jennifer McLain McLemore   on behalf of Creditor   RPAI Southwest Management LLC (f/k/a Inland
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              Jennifer McLain McLemore   on behalf of Creditor   Prudential Insurance Company of America
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              Jennifer McLain McLemore   on behalf of Creditor   CC Properties LLC jmclemore@williamsmullen.com,
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              Jennifer McLain McLemore   on behalf of Creditor   Inland Western College Station Gateway Limited
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              Jennifer McLain McLemore   on behalf of Creditor   Brighton Commercial, L.L.C.
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              Jennifer McLain McLemore   on behalf of Creditor   Nashville Electric Service
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Interested Party    Sacramento Bee
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       Case 08-35653-KRH         Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                 Desc
                               Imaged Certificate of Notice Page 26 of 61


District/off: 0422-7          User: garyl                 Page 23 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9            Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Jennifer McLain McLemore   on behalf of Defendant    McClatchy Newspapers, Inc. dba The State
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              Jennifer McLain McLemore   on behalf of Creditor   Watt Management Company
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              Jennifer McLain McLemore   on behalf of Creditor   Cameron Bayonne, LLC
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              Jennifer McLain McLemore   on behalf of Creditor   Kimco Realty Corporation
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Transferee    IMCC Sunland, L.L.C.
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Hamilton Crossing jmclemore@williamsmullen.com,
               avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Redtree Properties, L.P.
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   MB Fabyan Randall Plaza Batavia, L.L.C.
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   LaSalle Bank National Association, as trustee
               for Corporate Lease-Backed Certificates, Series 1999-CLF1 jmclemore@williamsmullen.com,
               avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Amargosa Palmdale Investments, LLC
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Premier Retail Interiors, Inc.
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   LaSalle Bank National Association, f/k/a/
               LaSalle National Bank, as Trustee of Corporate Credit-Backed Pass-Through Certificates, Series
               1997-CTL-1, acting by and through Midland Loan Servicers, a div jmclemore@williamsmullen.com,
               avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Defendant    Philips Electronics North America Corporation,
               d/b/a Digital Lifestyle Outfitters, Philips Accessories, Gemini Industries, Philips Consumer
               Electronics, Philips Norelco and Philips Lighting Company jmclemore@williamsmullen.com,
               avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   LaSalle Bank National Association as Trustee
               for Corporate Lease-Backed Certificates, Series 1999-CLF1 jmclemore@williamsmullen.com,
               avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Inland Southwest Management LLC, Inland
               American Retail Management LLC, Inland US Management LLC, Inland Pacific Property Services LLC,
               Inland Continental Property Management Corp., and Inland Commerc jmclemore@williamsmullen.com,
               avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   PL Mesa Pavilions LLC
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Cameron Bayonne Urban Renewal, LLC’s (f/k/a
               Cameron Bayonne, LLC) jmclemore@williamsmullen.com,
               avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   City and County of San Francisco
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Defendant    The Miami Herald Media Company
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   U.S. 41 & I 285 Company
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Union Square Retail Trust
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Crossroads Associates, Ltd.
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              Jennifer McLain McLemore   on behalf of Creditor   Charlotte Observer
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Whitestone Development Partners, L.P.
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Wichita Eagle jmclemore@williamsmullen.com,
               avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Manufacturers and Traders Trust Company, as
               Trustee jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Fingerlakes Crossing, LLC
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Thoroughbred Village
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Defendant    Industriaplex, Inc.
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Defendant    The McClatchy Company, dba Myrtle Beach Sun
               News, aka The Sun News jmclemore@williamsmullen.com,
               avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Chung Hee Kim (Ridgehaven Plaza Shopping
               Center) jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Carousel Center Company, L.P.
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   EklecCo NewCo, LLC
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
       Case 08-35653-KRH         Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                Desc
                               Imaged Certificate of Notice Page 27 of 61


District/off: 0422-7          User: garyl                 Page 24 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9            Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Jennifer McLain McLemore   on behalf of Creditor   Inland Western Lewisville Lakepointe Limited
               Partnership jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   LaSalle Bank National Association f/k/a
               LaSalle National Bank jmclemore@williamsmullen.com,
               avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   NAP Northpoint, LLC
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Watercress Associates, LP, LLP dba Pearlridge
               Center jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   De Rito Partners jmclemore@williamsmullen.com,
               avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   La Habra Imperial, LLC
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              Jennifer McLain McLemore   on behalf of Creditor   Rolling Acres Plaza Shopping Center
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Interested Party    Jeff Leopold
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Lake Worth Towne Crossing Limited Partnership
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   McClatchy Company jmclemore@williamsmullen.com,
               avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Defendant    Idaho Statesman Publishing LLC, d/b/a The
               Idaho Statesman jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Foursquare Properties Inc.
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   The Leben Family Limited Partnership
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Defendant    Hamilton Beach Brands, Inc.
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              Jennifer McLain McLemore   on behalf of Creditor   Cohab Realty, LLC jmclemore@williamsmullen.com,
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              Jennifer McLain McLemore   on behalf of Creditor   EEL McKee LLC jmclemore@williamsmullen.com,
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              Jennifer McLain McLemore   on behalf of Plaintiff    CC-Investors 1995-6
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Interested Party    San Luis Obispo Tribune
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   CHK, LLC jmclemore@williamsmullen.com,
               avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Computer Resource Team, Inc.
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Bizport, Ltd. jmclemore@williamsmullen.com,
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              Jennifer McLain McLemore   on behalf of Creditor   T & T Enterprises jmclemore@williamsmullen.com,
               avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Generation H One and Two Limited Partnership
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Defendant    The McClatchy Company, d/b/a The Wichita
               Eagle jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Gateway Center Properties III, LLC and SMR
               Gateway III, LLC as tenants in common jmclemore@williamsmullen.com,
               avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   LaSalle Bank National Association, as trustee
               for C1 Trust, acting by and through Midland Loan Services, Inc jmclemore@williamsmullen.com,
               avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Swanblossom Investments, LP
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Defendant    Lexington Herald Leader
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Transferor    Manufactures and Traders Trust Company, as
               Trustee jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Inland Western Southlake Corners Limited
               Partnership jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Westgate Village, LLC
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   M.I.A. Brookhaven, LLC
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Inland Western Austin Southpark Meadows II
               Limited Partnership jmclemore@williamsmullen.com,
               avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Inland Western Phillipsburg Greenwich L.L.C.
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Inland Western Cedar Hill Pleasant Run Limited
               Partnership jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   International Speedway Square, Ltd.
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Lexmark International, Inc.
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       Case 08-35653-KRH         Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                Desc
                               Imaged Certificate of Notice Page 28 of 61


District/off: 0422-7          User: garyl                 Page 25 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9            Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Jennifer McLain McLemore   on behalf of Defendant   Media General Operations, Inc.
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Landover (Landover Crossing), LLC
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Columbia State jmclemore@williamsmullen.com,
               avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Interested Party   James H. Wimmer, Jr., personally
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              Jennifer McLain McLemore   on behalf of Creditor   RPAI US Management LLC (f/k/a Inland US
               Management LLC) jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Interested Party   Fresno Bee
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              Jennifer McLain McLemore   on behalf of Creditor   Wells Fargo Bank, N.A., as Trustee for
               Nationslink Funding Corporation Commercial Loan Pass-Through Certificates, Series 1999-LTL-1,
               acting by and through Midland Loan Services, a division of PNC Bank jmclemore@williamsmullen.com,
               avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Roth Tanglewood, LLC
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Inland American Chesapeake Crossroads, L.L.C.
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              Jennifer McLain McLemore   on behalf of Defendant   DayMen U.S., Inc. d/b/a Lowepro USA
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Memorial Square 1031, L.L.C.
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Inland Pacific Property Services LLC
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Catellus Operating Limited Partnership
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Inland Commercial Property Management, Inc.
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   LaSalle Bank National Association f/k/a
               LaSalle National Bank, as Trustee of Corporate Credit-Backed Pass-Through Certificates, Series
               1997-CTL-1 jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   The West Campus Square Company, LLC
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Crossgates Commons NewCo, LLC
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              Jennifer McLain McLemore   on behalf of Interested Party   Lexington Herald-Leader
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              Jennifer McLain McLemore   on behalf of Creditor   Inland US Management LLC
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              Jennifer McLain McLemore   on behalf of Creditor   Kite Coral Springs, LLC
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Sangertown Square, L.L.C.
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Inland Western Temecula Commons, L.L.C.
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              Jennifer McLain McLemore   on behalf of Transferor   Manufacturers and Traders Trust Company, as
               Trustee jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   UnCommon, Ltd., a Florida Limited Partnership
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Tanglewood Park, LLC; Roth Tanglewood, LLC and
               Luckoff Land Company, LLC as tenants in common jmclemore@williamsmullen.com,
               avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   LaSalle Bank National Association, f/k/a
               LaSalle National Bank, as Trustee of Corporate Credit-Backed Pass-Through Certificates, Series
               1997-CTL-1, acting by and through Midland Loan Services, a divis jmclemore@williamsmullen.com,
               avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Inland Southwest Darien, L.L.C.
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              Jennifer McLain McLemore   on behalf of Defendant   Tacoma News, Inc.
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Inland Continental Property Management Corp.
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Rancon Realty Fund IV
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Inland American Retail Management LLC
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Argyle Forest Retail I, LLC
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   LaSalle Bank National Association, a
               nationally chartered bank, as Trustee for Corporate Lease-Backed Certificates, Series 1999-CLF1,
               acting by and through Midland Loan Services, a division of PNC Ban jmclemore@williamsmullen.com,
               avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   KRG Market Street Village, LP
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore   on behalf of Creditor   Cousins Properties Incorporated
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
       Case 08-35653-KRH          Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                 Desc
                                Imaged Certificate of Notice Page 29 of 61


District/off: 0422-7          User: garyl                  Page 26 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9             Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Jennifer McLain McLemore    on behalf of Defendant    McClatchy Newspapers, Inc. dba The San Luis
               Obispo County Tribune jmclemore@williamsmullen.com,
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              Jennifer McLain McLemore    on behalf of Creditor    Galleria Alpha Plaza, Ltd.
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore    on behalf of Creditor    MB Keene Monadnock, L.L.C.
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              Jennifer McLain McLemore    on behalf of Creditor    The Macerich Company
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore    on behalf of Creditor    Digital Innovations, LLC
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore    on behalf of Creditor    Acadia Realty Limited Partnership
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore    on behalf of Interested Party    Manufacturers & Traders Trust Company,
               as Trustee jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore    on behalf of Creditor    Myrtle Beach Farms
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore    on behalf of Creditor    Fishers Station Development Co.
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore    on behalf of Defendant    North Jersey Media Group Inc.
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore    on behalf of Creditor    Thoroughbred Village Tennessee, GP
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore    on behalf of Creditor    Crossroads Shopping Center
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore    on behalf of Creditor    Warner Home Video jmclemore@williamsmullen.com,
               avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore    on behalf of Creditor    Bella Terra Associates, LLC
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore    on behalf of Creditor    Merge Computer Group, Inc.
               jmclemore@williamsmullen.com, avaughn@williamsmullen.com;jmclemore76@gmail.com
              Jennifer McLain McLemore    on behalf of Creditor    RioCan Austin Southpark Meadows II Limited
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              Jennifer V. Doran    on behalf of Creditor    DeMatteo Management, Inc. jdoran@hinckleyallen.com,
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              Jeremy Brian Root    on behalf of Defendant    Credit Suisse Loan Funding, LLC jroot@bklawva.com,
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              Jeremy S. Friedberg    on behalf of Creditor    Toshiba America Information Systems, Inc.
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              Jeremy S. Williams    on behalf of Creditor    Magna Trust Company, Trustee
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              Jeremy S. Williams    on behalf of Defendant    SDI Technologies, Inc.
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              Jeremy S. Williams    on behalf of Creditor Michelle Sifford jeremy.williams@kutakrock.com,
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              Jeremy W. Ryan    on behalf of Creditor    FR E2 Property Holding, L.P. jryan@saul.com
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              Jess R. Bressi    on behalf of Creditor    RJ Ventures LLC, K&G Dearborn LLC jbressi@luce.com
              Jess R. Bressi    on behalf of Creditor    Engineered Structures, Inc. jbressi@luce.com
              Jesse N. Silverman    on behalf of Creditor    KNP jsilverman@dilworthlaw.com,
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              Jesse N. Silverman    on behalf of Creditor    Prudential Insurance Company of America
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              Jesse N. Silverman    on behalf of Creditor    Foursquare Properties, Inc.
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       Case 08-35653-KRH          Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                 Desc
                                Imaged Certificate of Notice Page 30 of 61


District/off: 0422-7          User: garyl                  Page 27 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9             Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Jesse N. Silverman    on behalf of Creditor    The Macerich Company jsilverman@dilworthlaw.com,
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              Jesse N. Silverman    on behalf of Creditor    Watt Management Company jsilverman@dilworthlaw.com,
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              Jesse N. Silverman    on behalf of Creditor    Eagleridge Associates, LLC
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              Jesse N. Silverman    on behalf of Creditor    RREEF Management Company jsilverman@dilworthlaw.com,
               kmalenki@dilworthlaw.com
              Jesse N. Silverman    on behalf of Creditor    CP Management Corp. as agent for Orland Towne Center,
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              Jesse N. Silverman    on behalf of Creditor    Torrance Towne Center Associates, LLC
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              Jesse N. Silverman    on behalf of Creditor    Comcast Cable Communications, LLC
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              Jesse N. Silverman    on behalf of Creditor    Cousins Properties Incorporated
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              Jesse N. Silverman    on behalf of Creditor    Portland Investment Company of America
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              Jessica Regan Hughes    on behalf of Interested Party    Arboretum of South Barrington, LLC
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              Jessica Regan Hughes    on behalf of Interested Party    Eatontown Commons Shopping Center
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              Joel T. Marker    on behalf of Creditor    Ammon Properties, LC joel@mbt-law.com
              Joel T. Marker    on behalf of Creditor    Parker Bullseye, LLC joel@mbt-law.com
              John B. Raftery    on behalf of Defendant    Utopian Software Concepts, Inc., dba Alterthought
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              John C. Smith    on behalf of Defendant    Sun Construction Group, Inc. a/k/a Sun Construction
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              John C. Smith    on behalf of Creditor    Sennco Solutions, Inc. jsmith@sandsanderson.com,
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              John D. McIntyre    on behalf of Creditor    Janaf Shops, LLC jmcintyre@mcintyrestein.com,
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              John Darren Sadler    on behalf of Creditor    Cencor Realty sadlerj@ballardspahr.com,
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              John E. Hilton    on behalf of Creditor    Thirty & 141, L.P. jeh@carmodymacdonald.com,
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       Case 08-35653-KRH         Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                Desc
                               Imaged Certificate of Notice Page 31 of 61


District/off: 0422-7          User: garyl                 Page 28 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9            Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              John G. McJunkin    on behalf of Creditor    Marc Realty jmcjunkin@bakerdonelson.com,
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              John G. McJunkin    on behalf of Creditor    Bethesda Softworks, LLC jmcjunkin@bakerdonelson.com,
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              John M. Craig    on behalf of Defendant    Imagitas, Inc. johncraigg@aol.com, russj4478@aol.com
              John M. Craig    on behalf of Creditor    Duke Energy Ohio, Inc. johncraigg@aol.com,
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       Case 08-35653-KRH          Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                 Desc
                                Imaged Certificate of Notice Page 32 of 61


District/off: 0422-7          User: garyl                  Page 29 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9             Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
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              John M. Craig    on behalf of Creditor    Niagara Mohawk Power Corporation johncraigg@aol.com,
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              John M. Craig    on behalf of Creditor    Dominion East Ohio johncraigg@aol.com, russj4478@aol.com
              John M. Craig    on behalf of Creditor    Granite State Electric johncraigg@aol.com,
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              John M. Craig    on behalf of Creditor    Jersey Central Power & Light Company johncraigg@aol.com,
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              John M. Craig    on behalf of Creditor    PECO Energy Company johncraigg@aol.com, russj4478@aol.com
              John M. Craig    on behalf of Creditor    Metropolitan Edison Company johncraigg@aol.com,
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              John M. Craig    on behalf of Creditor    Consolidated Edison Company of New York, Inc.
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              John M. Craig    on behalf of Creditor    Western Massachusetts Electric Company johncraigg@aol.com,
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              John M. Craig    on behalf of Creditor    Retail Property Group, Inc. johncraigg@aol.com,
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              John M. Craig    on behalf of Creditor    Salt River Project johncraigg@aol.com, russj4478@aol.com
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              John M. Craig    on behalf of Creditor    Jackson EMC johncraigg@aol.com, russj4478@aol.com
              John M. Craig    on behalf of Defendant    ASM Capital III, L.P. johncraigg@aol.com,
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              John M. Craig    on behalf of Creditor    Pennsylvania Electric Company johncraigg@aol.com,
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              John M. Craig    on behalf of Creditor    EnergyNorth Natural Gas, Inc. d/b/a National Grid NH
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              Jonathan L. Hauser    on behalf of Defendant    Velocity Micro, Inc.
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              Julie Ann Quagliano    on behalf of Defendant    Kent H. Landsberg of Dallas, LP (
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       Case 08-35653-KRH         Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                 Desc
                               Imaged Certificate of Notice Page 33 of 61


District/off: 0422-7          User: garyl                 Page 30 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9            Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
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               Sunclipse North America, Inc., d/b/a Kent H. Landsberg Company, a California corporation
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              Julie H. Rome-Banks    on behalf of Creditor    Envision Peripherals,Inc Julie@bindermalter.com
              Julie H. Rome-Banks    on behalf of Creditor    Daly City Partners I, L.P Julie@bindermalter.com
              Justin F. Paget    on behalf of Defendant    The Seattle Times Company jpaget@huntonAK.com,
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              Justin F. Paget    on behalf of Defendant    Hunton & Williams, LLP jpaget@huntonAK.com,
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              Justin F. Paget    on behalf of Defendant    Arkansas Democrat-Gazette, Inc. jpaget@huntonAK.com,
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              Justin F. Paget    on behalf of Defendant    Atari, Inc., f/k/a Infogrames jpaget@huntonAK.com,
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              Justin F. Paget    on behalf of Defendant    Wynit, Inc. jpaget@huntonAK.com, tcanada@huntonAK.com
              Justin F. Paget    on behalf of Defendant    Thule Organization Solutions, Inc. dba Case Logic,
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              Justin F. Paget    on behalf of Defendant    The Spark Agency, Inc. d/b/a Switch and Switch
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              Karen L. Gilman    on behalf of Creditor    Toys R Us - Delaware, Inc. KGILMAN@WOLFFSAMSON.COM
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               com
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               com
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              Kenneth R. Rhoad    on behalf of Defendant    Actionlink, LLC rhoadken@gmail.com
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              Kevin A. Lake    on behalf of Creditor    Texas Tax Appraisal Districts of Bell County, Brazos
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              Kevin A. Lake    on behalf of Creditor    Hagan Properties, Inc. klake@mcdonaldsutton.com
              Kevin A. Lake    on behalf of Creditor    Orangefair Marketplace, LLC klake@mcdonaldsutton.com
              Kevin A. Lake    on behalf of Creditor    Shasta County klake@mcdonaldsutton.com
              Kevin A. Lake    on behalf of Creditor    Madcow International Group Limited
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              Kevin A. Lake    on behalf of Creditor    Bexar Co., Cameron Co., Dallas Co., El Paso, Frisco,
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               Co., Rockwall Co., Roundrock ISD, Smith Co., South klake@mcdonaldsutton.com
              Kevin A. Lake    on behalf of Creditor    Harris County klake@mcdonaldsutton.com
              Kevin A. Lake    on behalf of Creditor    Bell County, County of Denton, Midland Central Appraisal
               District, County of Brazos, Longview Independent School District, Taylor Central Appraisal
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              Kevin A. Lake    on behalf of Creditor    Belkin International klake@mcdonaldsutton.com
              Kevin A. Lake    on behalf of Creditor    Catawba County North Carolina klake@mcdonaldsutton.com
              Kevin A. Lake    on behalf of Creditor    Old Republic Insurance Company klake@mcdonaldsutton.com
              Kevin A. Lake    on behalf of Creditor    United Radio, Inc. klake@mcdonaldsutton.com
              Kevin A. Lake    on behalf of Creditor    Shelbyville Road Plaza, LLC klake@mcdonaldsutton.com
              Kevin A. Lake    on behalf of Creditor    Pima County klake@mcdonaldsutton.com
              Kevin A. Lake    on behalf of Creditor    Pierce County klake@mcdonaldsutton.com
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              Kevin M. Newman    on behalf of Creditor    Mount Berry Square, LLC knewman@barclaydamon.com,
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       Case 08-35653-KRH          Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                 Desc
                                Imaged Certificate of Notice Page 34 of 61


District/off: 0422-7          User: garyl                  Page 31 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9             Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
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              Khang V. Tran    on behalf of Defendant    NW Communications of Phoenix, Inc.
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              Khang V. Tran    on behalf of Defendant    NW Communications of Texas, Inc.
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              Kimberly Sullivan Walker    on behalf of Creditor    LaSalle Bank National Association f/k/a
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       Case 08-35653-KRH          Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                 Desc
                                Imaged Certificate of Notice Page 35 of 61


District/off: 0422-7          User: garyl                  Page 32 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9             Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
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              Lisa Hudson Kim    on behalf of Creditor    VNO Mundy Street, LLC lkim@siwpc.com, lhamiel@siwpc.com
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              Lisa Hudson Kim    on behalf of Creditor    Interstate Augusta Properties LLC lkim@siwpc.com,
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              Lisa Hudson Kim    on behalf of Creditor Rebecca Hylton DeCamps lkim@siwpc.com, lhamiel@siwpc.com
              Lisa Hudson Kim    on behalf of Creditor    A.D.D. Holdings, L.P. lkim@siwpc.com, lhamiel@siwpc.com
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              Lisa Hudson Kim    on behalf of Creditor    Alexander’s Rego Park Center, Inc. lkim@siwpc.com,
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       Case 08-35653-KRH         Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                 Desc
                               Imaged Certificate of Notice Page 36 of 61


District/off: 0422-7          User: garyl                 Page 33 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9            Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
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              Lisa Hudson Kim    on behalf of Creditor    BPP-NY LLC lkim@siwpc.com, lhamiel@siwpc.com
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              Lisa Hudson Kim    on behalf of Creditor    North Bergen Tonnelle Plaza, LLC lkim@siwpc.com,
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               sdigiorgio@tb-lawfirm.com;lnelson@tb-lawfirm.com;pberan@tb-lawfirm.com;dtabakin@tb-lawfirm.com
              Lynn L. Tavenner    on behalf of Professional Alfred H. Siegel ltavenner@tb-lawfirm.com,
               sdigiorgio@tb-lawfirm.com;lnelson@tb-lawfirm.com;pberan@tb-lawfirm.com;dtabakin@tb-lawfirm.com
              Lynn L. Tavenner    on behalf of Defendant    The Washington Post Company ltavenner@tb-lawfirm.com,
               sdigiorgio@tb-lawfirm.com;lnelson@tb-lawfirm.com;pberan@tb-lawfirm.com;dtabakin@tb-lawfirm.com
       Case 08-35653-KRH         Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                 Desc
                               Imaged Certificate of Notice Page 37 of 61


District/off: 0422-7          User: garyl                 Page 34 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9            Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Lynn L. Tavenner   on behalf of Trustee    Circuit City Stores, Inc. Liquidating Trust
               ltavenner@tb-lawfirm.com,
               sdigiorgio@tb-lawfirm.com;lnelson@tb-lawfirm.com;pberan@tb-lawfirm.com;dtabakin@tb-lawfirm.com
              Lynn L. Tavenner   on behalf of Plaintiff Alfred H. Siegel, Trustee of the Circuit City Stores,
               Inc. Liquidating Trust ltavenner@tb-lawfirm.com,
               sdigiorgio@tb-lawfirm.com;lnelson@tb-lawfirm.com;pberan@tb-lawfirm.com;dtabakin@tb-lawfirm.com
              Lynn L. Tavenner   on behalf of Plaintiff Alfred H Siegel, Trustee ltavenner@tb-lawfirm.com,
               sdigiorgio@tb-lawfirm.com;lnelson@tb-lawfirm.com;pberan@tb-lawfirm.com;dtabakin@tb-lawfirm.com
              Lynn L. Tavenner (CC-A)    on behalf of Plaintiff Alfred H. Siegel ltavenner@tb-lawfirm.com,
               sdigiorgio@tb-lawfirm.com;lnelson@tb-lawfirm.com;pberan@tb-lawfirm.com;dtabakin@tb-lawfirm.com
              Lynn L. Tavenner (CC-B)    on behalf of Plaintiff Alfred H. Siegel ltavenner@tb-lawfirm.com,
               sdigiorgio@tb-lawfirm.com;lnelson@tb-lawfirm.com;pberan@tb-lawfirm.com;dtabakin@tb-lawfirm.com
              Lynn L. Tavenner (CC-C)    on behalf of Plaintiff Alfred H. Siegel ltavenner@tb-lawfirm.com,
               sdigiorgio@tb-lawfirm.com;lnelson@tb-lawfirm.com;pberan@tb-lawfirm.com;dtabakin@tb-lawfirm.com
              Madeleine C. Wanlsee    on behalf of Interested Party Madeleine C. Wanslee mwanslee@gustlaw.com
              Malcolm M. Mitchell, Jr.    on behalf of Creditor   AOL LLC mmmitchell@vorys.com,
               sbanerjee@vorys.com;kdlehman@vorys.com;cmbrosius@vorys.com
              Malcolm M. Mitchell, Jr.    on behalf of Creditor   Advertising.com Inc. mmmitchell@vorys.com,
               sbanerjee@vorys.com;kdlehman@vorys.com;cmbrosius@vorys.com
              Malcolm M. Mitchell, Jr.    on behalf of Defendant   AOL Advertising Inc. mmmitchell@vorys.com,
               sbanerjee@vorys.com;kdlehman@vorys.com;cmbrosius@vorys.com
              Malcolm M. Mitchell, Jr.    on behalf of Defendant   AOL Advertising, Inc., fka Platform-A Inc.
               mmmitchell@vorys.com, sbanerjee@vorys.com;kdlehman@vorys.com;cmbrosius@vorys.com
              Malcolm M. Mitchell, Jr.    on behalf of Defendant   Superstation, Inc. mmmitchell@vorys.com,
               sbanerjee@vorys.com;kdlehman@vorys.com;cmbrosius@vorys.com
              Malcolm M. Mitchell, Jr.    on behalf of Creditor   Accent Energy California LLC
               mmmitchell@vorys.com, sbanerjee@vorys.com;kdlehman@vorys.com;cmbrosius@vorys.com
              Malcolm M. Mitchell, Jr.    on behalf of Creditor   Advance Real Estate Management, LLC
               mmmitchell@vorys.com, sbanerjee@vorys.com;kdlehman@vorys.com;cmbrosius@vorys.com
              Malcolm M. Mitchell, Jr.    on behalf of Creditor   Polaris Circuit City, LLC mmmitchell@vorys.com,
               sbanerjee@vorys.com;kdlehman@vorys.com;cmbrosius@vorys.com
              Margaret M. Anderson    on behalf of Creditor   Old Republic Insurance Company panderson@fhslc.com
              Mark B. Conlan   on behalf of Creditor    CC Hamburg NY Partners, LLC mconlan@gibbonslaw.com
              Mark B. Conlan   on behalf of Creditor    Chelmsford Realty Associates mconlan@gibbonslaw.com
              Mark D. Sherrill   on behalf of Interested Party    CMAT 1999-C2 EMPORIUM DRIVE LLC
               marksherrill@eversheds-sutherland.com
              Mark D. Sherrill   on behalf of Interested Party    CMAT 1999-C2 LAWENCE ROAD , LLC
               marksherrill@eversheds-sutherland.com
              Mark D. Sherrill   on behalf of Creditor    DMARC 2006 Poughkeepsie LLC
               marksherrill@eversheds-sutherland.com
              Mark D. Sherrill   on behalf of Creditor    GECMC 2005 C2 Hickory Hollow LLC
               marksherrill@eversheds-sutherland.com
              Mark D. Sherrill   on behalf of Interested Party    CMAT 1999-C1 GRAND RIVER AVENUE LLC
               marksherrill@eversheds-sutherland.com
              Mark D. Sherrill   on behalf of Creditor    CMAT 1999 C2 Ridgeland Retail LLC
               marksherrill@eversheds-sutherland.com
              Mark D. Sherrill   on behalf of Creditor    CSFB 2005-C1 Shoppes of Plantation Acres, LLC
               marksherrill@eversheds-sutherland.com
              Mark D. Sherrill   on behalf of Creditor    CCMS 2005 CD1 Lycoming Mall Circle Limited Partnership
               marksherrill@eversheds-sutherland.com
              Mark D. Sherrill   on behalf of Creditor    GECMC 2005 C2 South Lindbergh LLC
               marksherrill@eversheds-sutherland.com
              Mark D. Sherrill   on behalf of Unknown    Sutherland Asbill & Brennan LLP
               marksherrill@eversheds-sutherland.com
              Mark D. Sherrill   on behalf of Creditor    LNR Partners, Inc.
               marksherrill@eversheds-sutherland.com
              Mark D. Sherrill   on behalf of Creditor    CMAT 1999 C2 Moller Road LLC
               marksherrill@eversheds-sutherland.com
              Mark D. Sherrill   on behalf of Creditor    Wells Fargo Bank, N.A., as successor trustee to Bank
               of America, N.A., as successor by merger to LaSalle Bank, N.A., as trustee for the registered
               holders of Merrill Lynch Mortgage Trust 2004-KEY2, Co marksherrill@eversheds-sutherland.com
              Mark D. Sherrill   on behalf of Transferee    CCMS 2005-CD1LYCOMING MALL CIRCLE LIMITED
               PARTNERSHIP marksherrill@eversheds-sutherland.com
              Mark D. Sherrill   on behalf of Creditor    CCMS 2005 CD1 Hale Road LLC
               marksherrill@eversheds-sutherland.com
              Mark D. Sherrill   on behalf of Creditor    C1 West Mason Street LLC
               marksherrill@eversheds-sutherland.com
              Mark D. Sherrill   on behalf of Creditor    GCCFC 2007-GG9 Abercorn Street Limited Partnership
               marksherrill@eversheds-sutherland.com
              Mark D. Sherrill   on behalf of Interested Party    CMAT 1999-C2 RIDGELAND RETAIL, LLC
               marksherrill@eversheds-sutherland.com
              Mark D. Sherrill   on behalf of Creditor    DMARC 2006 CD2 Davidson Place, LLC
               marksherrill@eversheds-sutherland.com
              Mark D. Sherrill   on behalf of Creditor    GECMC 2005 C2 Mall Road LLC
               marksherrill@eversheds-sutherland.com
              Mark D. Sherrill   on behalf of Creditor    CMAT 1999 C2 Lawrence Road LLC
               marksherrill@eversheds-sutherland.com
       Case 08-35653-KRH          Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                 Desc
                                Imaged Certificate of Notice Page 38 of 61


District/off: 0422-7          User: garyl                  Page 35 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9             Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Mark D. Sherrill    on behalf of Creditor    CMAT 1999 C2 Idle Hour Road LLC
               marksherrill@eversheds-sutherland.com
              Mark D. Sherrill    on behalf of Transferee    CMAT 1999-C2 Bustleton Avenue Limited Partnership
               marksherrill@eversheds-sutherland.com
              Mark D. Sherrill    on behalf of Creditor    CMAT 1999 C1 Kelly Road, LLC
               marksherrill@eversheds-sutherland.com
              Mark D. Sherrill    on behalf of Creditor    GECMC 2005 C2 Parent LLC
               marksherrill@eversheds-sutherland.com
              Mark D. Sherrill    on behalf of Creditor    CGCMT 2006 C5 Glenway Avenue LLC
               marksherrill@eversheds-sutherland.com
              Mark D. Sherrill    on behalf of Creditor    GECMC 2005-C2 Eastex Freeway, LLC, a Texas Limited
               Liability Company marksherrill@eversheds-sutherland.com
              Mark D. Sherrill    on behalf of Creditor    WBCMT 2005-C21 South Ocean Gate Avenue Limited
               Partnership marksherrill@eversheds-sutherland.com
              Mark D. Sherrill    on behalf of Creditor    CMAT 1999 C2 Bustleton Avenue Limited Partnership
               marksherrill@eversheds-sutherland.com
              Mark D. Sherrill    on behalf of Creditor    Wells Fargo Bank, N.A., as Trustee for the Registered
               Holders of Banc of America Commercial Mortgage Inc. Commercial Mortgage Pass-Through
               Certificates, Series 2006-C4 marksherrill@eversheds-sutherland.com
              Mark D. Sherrill    on behalf of Interested Party    CMAT 1999-CI KELLY ROAD, LLC
               marksherrill@eversheds-sutherland.com
              Mark D. Sherrill    on behalf of Creditor    CMAT 1999 C2 Emporium Drive LLC
               marksherrill@eversheds-sutherland.com
              Mark D. Sherrill    on behalf of Creditor    GECMC 2005-C2 Ludwig Drive, LLC
               marksherrill@eversheds-sutherland.com
              Mark D. Taylor    on behalf of Defendant    The Weather Channel, LLC f/k/a The Weather Channel
               Interactive, Inc. mtaylor@vlplawgroup.com
              Mark D. Taylor    on behalf of Creditor    Triangle Equities Junction LLC mtaylor@vlplawgroup.com
              Mark D. Taylor    on behalf of Creditor    Lenovo USA mtaylor@vlplawgroup.com
              Mark E. Browning    on behalf of Defendant    Susan Combs, as Comptroller of Public Accounts of the
               State of Texas, and Greg Abbott, as Attorney General of the State of Texas
               bk-mbrowning@oag.state.tx.us, sherri.simpson@oag.state.tx.us
              Mark E. Browning    on behalf of Creditor    Texas Comptroller of Public Accounts
               bk-mbrowning@oag.state.tx.us, sherri.simpson@oag.state.tx.us
              Mark E. Browning    on behalf of Creditor    Texas Comptroller of Public Accounts and Texas
               Workforce Commission bk-mbrowning@oag.state.tx.us, sherri.simpson@oag.state.tx.us
              Mark J. Friedman    on behalf of Defendant    InnerWorkings, Inc. mark.friedman@dlapiper.com
              Mark J. Friedman    on behalf of Creditor    InnerWorkings, Inc. mark.friedman@dlapiper.com
              Mark J. Friedman    on behalf of Defendant    Creative Labs, Inc. mark.friedman@dlapiper.com
              Mark J. Friedman    on behalf of Attorney Mark J. Friedman mark.friedman@dlapiper.com
              Mark J. Friedman    on behalf of Creditor    Morgan Hill Retail Venture, LP
               mark.friedman@dlapiper.com
              Mark J. Friedman    on behalf of Creditor    West Marine Products, Inc. mark.friedman@dlapiper.com
              Mark K. Ames    on behalf of Creditor    Commonwealth of Virginia, Department of Taxation
               mark@taxva.com, amanda@taxva.com
              Mark K. Ames    on behalf of Creditor    Louisiana Department of Revenue mark@taxva.com,
               amanda@taxva.com
              Mark X. Mullin    on behalf of Creditor    Phoenix Property Company mark.mullin@haynesboone.com,
               dian.gwinnup@haynesboone.com
              Mark X. Mullin    on behalf of Creditor    BB Fonds International 1 USA, L.P.
               mark.mullin@haynesboone.com, dian.gwinnup@haynesboone.com
              Martha E. Hulley    on behalf of Creditor    Developers Realty, Inc. martha.hulley@leclairryan.com,
               erik.gustafson@leclairryan.com;sarahleitner.kelly@leclairryan.com
              Martha E. Hulley    on behalf of Creditor    Fayetteville Developers, LLC
               martha.hulley@leclairryan.com, erik.gustafson@leclairryan.com;sarahleitner.kelly@leclairryan.com
              Martha E. Hulley    on behalf of Creditor    Westfield, LLC martha.hulley@leclairryan.com,
               erik.gustafson@leclairryan.com;sarahleitner.kelly@leclairryan.com
              Martha E. Hulley    on behalf of Creditor    The Balogh Companies martha.hulley@leclairryan.com,
               erik.gustafson@leclairryan.com;sarahleitner.kelly@leclairryan.com
              Martha E. Hulley    on behalf of Creditor    Brandywine Grande C, L.P.
               martha.hulley@leclairryan.com, erik.gustafson@leclairryan.com;sarahleitner.kelly@leclairryan.com
              Martha E. Hulley    on behalf of Creditor    Benenson Capital Company martha.hulley@leclairryan.com,
               erik.gustafson@leclairryan.com;sarahleitner.kelly@leclairryan.com
              Martha E. Hulley    on behalf of Creditor    CK Richmond Business Services #2, LLC
               martha.hulley@leclairryan.com, erik.gustafson@leclairryan.com;sarahleitner.kelly@leclairryan.com
              Martha E. Hulley    on behalf of Creditor    Cardinal Capital Partners
               martha.hulley@leclairryan.com, erik.gustafson@leclairryan.com;sarahleitner.kelly@leclairryan.com
              Martha E. Hulley    on behalf of Creditor    CC Kingsport 98, LLC martha.hulley@leclairryan.com,
               erik.gustafson@leclairryan.com;sarahleitner.kelly@leclairryan.com
              Martin A. Brown    on behalf of Creditor    Express Services, Inc. martin.brown@lawokc.com
              Martin A. Brown    on behalf of Creditor    Creditor Express Personnel Services, Inc
               martin.brown@lawokc.com
              Martin J.A. Yeager    on behalf of Creditor Loren Stocker myeager@landcarroll.com
              Mary E. Olden    on behalf of Creditor    Colorado Structures, Inc. dba CSI Construction Co.
               molden@mhalaw.com, akauba@mhalaw.com
              Mary Louise Fullington    on behalf of Creditor    Scripps Networks Interactive, Inc.
               lexbankruptcy@wyattfirm.com
       Case 08-35653-KRH          Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                 Desc
                                Imaged Certificate of Notice Page 39 of 61


District/off: 0422-7          User: garyl                  Page 36 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9             Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Matthew Righetti     on behalf of Creditor Jonathan Card matt@righettilaw.com,
               kelly@righettilaw.com
              Matthew Righetti     on behalf of Creditor Jack Hernandez matt@righettilaw.com,
               kelly@righettilaw.com
              Matthew Righetti     on behalf of Creditor Joseph Skaf matt@righettilaw.com,
               kelly@righettilaw.com
              Matthew Righetti     on behalf of Creditor Jonthan Card matt@righettilaw.com,
               kelly@righettilaw.com
              Matthew Righetti     on behalf of Creditor Vadim Rylov matt@righettilaw.com,
               kelly@righettilaw.com
              Matthew A. Gold    on behalf of Creditor    Argo Partners courts@argopartners.net
              Matthew E. Hoffman    on behalf of Creditor    Principal Life Insurance Company
               mehoffman@duanemorris.com, lltaylor@duanemorris.com;lstopol@levystopol.com
              Matthew E. Hoffman    on behalf of Creditor    Audiovox Corporation mehoffman@duanemorris.com,
               lltaylor@duanemorris.com;lstopol@levystopol.com
              Matthew J. Ellis    on behalf of Creditor    Montgomery County Trustee mellis@batsonnolan.com
              Matthew V. Spero    on behalf of Creditor    CC-Investors 1995-6 matthew.spero@rivkin.com
              Melissa S. Hayward    on behalf of Creditor    Parago, Inc. mhayward@lockelord.com
              Melissa S. Hayward    on behalf of Creditor    Home Depot USA, Inc. mhayward@lockelord.com
              Meredith Linn Yoder    on behalf of Creditor    Edwin Watts Golf Shops, LLC
               myoder@parkerpollard.com,
               sscarce@parkerpollard.com;treid@parkerpollard.com;abrown@parkerpollard.com
              Meredith Linn Yoder    on behalf of Creditor    MDS Realty II, LLC myoder@parkerpollard.com,
               sscarce@parkerpollard.com;treid@parkerpollard.com;abrown@parkerpollard.com
              Michael Reed     on behalf of Creditor    City of Midland et al othercourts@mvbalaw.com
              Michael Reed     on behalf of Creditor    City of Waco et al othercourts@mvbalaw.com
              Michael Reed     on behalf of Creditor    Tax Appraisal District of Bell County et al
               othercourts@mvbalaw.com
              Michael Reed     on behalf of Creditor    Williamson County et al othercourts@mvbalaw.com
              Michael A. Condyles    on behalf of Creditor    Cole CC Taunton MA, LLC
               michael.condyles@kutakrock.com, lynda.wood@kutakrock.com;jeremy.williams@kutakrock.com
              Michael A. Condyles    on behalf of Creditor    Shopping.com, Inc. michael.condyles@kutakrock.com,
               lynda.wood@kutakrock.com;jeremy.williams@kutakrock.com
              Michael A. Condyles    on behalf of Creditor    Chase Bank USA, National Association
               michael.condyles@kutakrock.com, lynda.wood@kutakrock.com;jeremy.williams@kutakrock.com
              Michael A. Condyles    on behalf of Creditor    Magna Trust Company, Trustee
               michael.condyles@kutakrock.com, lynda.wood@kutakrock.com;jeremy.williams@kutakrock.com
              Michael A. Condyles    on behalf of Creditor    GE Fleet michael.condyles@kutakrock.com,
               lynda.wood@kutakrock.com;jeremy.williams@kutakrock.com
              Michael A. Condyles    on behalf of Interested Party    Epson America, Inc.
               michael.condyles@kutakrock.com, lynda.wood@kutakrock.com;jeremy.williams@kutakrock.com
              Michael A. Condyles    on behalf of Creditor    Cole CC Kennesaw GA, LLC
               michael.condyles@kutakrock.com, lynda.wood@kutakrock.com;jeremy.williams@kutakrock.com
              Michael A. Condyles    on behalf of Creditor    Schottenstein Property Group, Inc.
               michael.condyles@kutakrock.com, lynda.wood@kutakrock.com;jeremy.williams@kutakrock.com
              Michael A. Condyles    on behalf of Creditor    Cole CC Mesquite TX, LLC
               michael.condyles@kutakrock.com, lynda.wood@kutakrock.com;jeremy.williams@kutakrock.com
              Michael A. Condyles    on behalf of Creditor    KSK Scottsdale Mall LP
               michael.condyles@kutakrock.com, lynda.wood@kutakrock.com;jeremy.williams@kutakrock.com
              Michael A. Condyles    on behalf of Creditor    CBL & Associates Management, Inc.
               michael.condyles@kutakrock.com, lynda.wood@kutakrock.com;jeremy.williams@kutakrock.com
              Michael A. Condyles    on behalf of Creditor    The Shoppes of Beavercreek Ltd.
               michael.condyles@kutakrock.com, lynda.wood@kutakrock.com;jeremy.williams@kutakrock.com
              Michael A. Condyles    on behalf of Creditor    Cole CC Aurora CO, LLC
               michael.condyles@kutakrock.com, lynda.wood@kutakrock.com;jeremy.williams@kutakrock.com
              Michael A. Condyles    on behalf of Creditor    Circuit Sports, L.P. michael.condyles@kutakrock.com,
               lynda.wood@kutakrock.com;jeremy.williams@kutakrock.com
              Michael A. Condyles    on behalf of Creditor    Jubilee-Springdale, LLC
               michael.condyles@kutakrock.com, lynda.wood@kutakrock.com;jeremy.williams@kutakrock.com
              Michael A. Condyles    on behalf of Defendant    Epson America, Inc. michael.condyles@kutakrock.com,
               lynda.wood@kutakrock.com;jeremy.williams@kutakrock.com
              Michael A. Condyles    on behalf of Creditor    Sony Electronics, Inc.
               michael.condyles@kutakrock.com, lynda.wood@kutakrock.com;jeremy.williams@kutakrock.com
              Michael A. Condyles    on behalf of Creditor    JP Morgan Chase & Co.
               michael.condyles@kutakrock.com, lynda.wood@kutakrock.com;jeremy.williams@kutakrock.com
              Michael A. Condyles    on behalf of Creditor    Bank One Delaware, National Association n/k/a Chase
               Bank, USA michael.condyles@kutakrock.com, lynda.wood@kutakrock.com;jeremy.williams@kutakrock.com
              Michael A. Condyles    on behalf of Creditor    The Landing at Arbor Place II, LLC
               michael.condyles@kutakrock.com, lynda.wood@kutakrock.com;jeremy.williams@kutakrock.com
              Michael A. Condyles    on behalf of Creditor    Cole Capital Partners, LLC
               michael.condyles@kutakrock.com, lynda.wood@kutakrock.com;jeremy.williams@kutakrock.com
              Michael A. Condyles    on behalf of Creditor    Hickory Ridge Pavilion LLC
               michael.condyles@kutakrock.com, lynda.wood@kutakrock.com;jeremy.williams@kutakrock.com
              Michael A. Stover    on behalf of Defendant    Safeco Insurance Company of America
               mstover@wcslaw.com, whopkins@wcslaw.com
              Michael Callahan Crowley    on behalf of Defendant    White-Spunner Construction Inc.
               mcrowley@asm-law.com
       Case 08-35653-KRH         Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                 Desc
                               Imaged Certificate of Notice Page 40 of 61


District/off: 0422-7          User: garyl                 Page 37 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9            Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Michael Callahan Crowley    on behalf of Creditor   White-Spunner Construction, Inc.
               mcrowley@asm-law.com
              Michael D. Mueller    on behalf of Defendant   Mad Catz, Inc. mmueller@williamsmullen.com,
               avaughn@williamsmullen.com
              Michael D. Mueller    on behalf of Creditor   Tamarack Village Shopping Center Limited Partnership
               mmueller@williamsmullen.com, avaughn@williamsmullen.com
              Michael D. Mueller    on behalf of Creditor   CHK, LLC mmueller@williamsmullen.com,
               avaughn@williamsmullen.com
              Michael D. Mueller    on behalf of Creditor   Whitestone Development Partners, L.P.
               mmueller@williamsmullen.com, avaughn@williamsmullen.com
              Michael D. Mueller    on behalf of Defendant   Archbrook Laguna, LLC, dba I. Lehrhoff & Company,
               Inc. mmueller@williamsmullen.com, avaughn@williamsmullen.com
              Michael D. Mueller    on behalf of Defendant   U.S. Luggage, LLC mmueller@williamsmullen.com,
               avaughn@williamsmullen.com
              Michael D. Mueller    on behalf of Creditor   CC-Investors 1995-6 mmueller@williamsmullen.com,
               avaughn@williamsmullen.com
              Michael D. Mueller    on behalf of Creditor   Rancon Realty Fund IV mmueller@williamsmullen.com,
               avaughn@williamsmullen.com
              Michael D. Mueller    on behalf of Defendant   Saitek Industries Ltd. mmueller@williamsmullen.com,
               avaughn@williamsmullen.com
              Michael D. Mueller    on behalf of Creditor   Inland Continental Property Management Corp.
               mmueller@williamsmullen.com, avaughn@williamsmullen.com
              Michael D. Mueller    on behalf of Creditor   Catellus Operating Limited Partnership
               mmueller@williamsmullen.com, avaughn@williamsmullen.com
              Michael D. Mueller    on behalf of Creditor   Inland Commercial Property Management, Inc.
               mmueller@williamsmullen.com, avaughn@williamsmullen.com
              Michael D. Mueller    on behalf of Plaintiff   CC-Investors 1995-6 mmueller@williamsmullen.com,
               avaughn@williamsmullen.com
              Michael D. Mueller    on behalf of Creditor   Warner Home Video mmueller@williamsmullen.com,
               avaughn@williamsmullen.com
              Michael D. Mueller    on behalf of Creditor   James H. Wimmer, Jr., personally
               mmueller@williamsmullen.com, avaughn@williamsmullen.com
              Michael D. Mueller    on behalf of Creditor   Sennheisser Electronic Corp.
               mmueller@williamsmullen.com, avaughn@williamsmullen.com
              Michael D. Mueller    on behalf of Creditor   Robyn N. Davis mmueller@williamsmullen.com,
               avaughn@williamsmullen.com
              Michael D. Mueller    on behalf of Creditor   Lawrence W. Fay mmueller@williamsmullen.com,
               avaughn@williamsmullen.com
              Michael D. Mueller    on behalf of Defendant   Mad Catz, Inc. dba Saitek Industries Ltd.
               mmueller@williamsmullen.com, avaughn@williamsmullen.com
              Michael D. Mueller    on behalf of Defendant   North American Roofing Services, Inc.
               mmueller@williamsmullen.com, avaughn@williamsmullen.com
              Michael D. Mueller    on behalf of Creditor   Team Retail Westbank, Ltd.
               mmueller@williamsmullen.com, avaughn@williamsmullen.com
              Michael D. Mueller    on behalf of Creditor Jeffrey R. Leopold mmueller@williamsmullen.com,
               avaughn@williamsmullen.com
              Michael D. Mueller    on behalf of Creditor   Inland Southwest Management LLC
               mmueller@williamsmullen.com, avaughn@williamsmullen.com
              Michael D. Mueller    on behalf of Creditor   Giant Eagle, Inc. mmueller@williamsmullen.com,
               avaughn@williamsmullen.com
              Michael D. Mueller    on behalf of Defendant   ArchBrook Laguna, LLC f/k/a BDI-Laguna, Inc.
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              Michael D. Mueller    on behalf of Creditor   Gateway Center Properties III, LLC and SMR Gateway
               III, LLC as tenants in common mmueller@williamsmullen.com, avaughn@williamsmullen.com
              Michael D. Mueller    on behalf of Creditor   Inland US Management LLC mmueller@williamsmullen.com,
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              Michael D. Mueller    on behalf of Creditor   Concar Enterprises, Inc. mmueller@williamsmullen.com,
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              Michael D. Mueller    on behalf of Creditor   SEA Properties I, LLC mmueller@williamsmullen.com,
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              Michael D. Mueller    on behalf of Creditor   Inland American Retail Management LLC
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              Michael D. Mueller    on behalf of Creditor   Cermak Plaza Associates, LLC
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              Michael D. Mueller    on behalf of Creditor Bruce H. Besanko mmueller@williamsmullen.com,
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              Michael D. Mueller    on behalf of Creditor   Inland Pacific Property Services LLC
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              Michael D. Mueller    on behalf of Creditor   Kimco Realty Corporation mmueller@williamsmullen.com,
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              Michael D. Mueller    on behalf of Creditor   Union Square Retail Trust
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              Michael D. Mueller    on behalf of Defendant   Honeywell International Inc. dba ADI
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              Michael D. Mueller    on behalf of Creditor   La Habra Imperial, LLC mmueller@williamsmullen.com,
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              Michael D. Mueller    on behalf of Creditor   P/A Acadia Pelham Manor, LLC
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       Case 08-35653-KRH          Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                 Desc
                                Imaged Certificate of Notice Page 41 of 61


District/off: 0422-7          User: garyl                  Page 38 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9             Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Michael D. Mueller    on behalf of Defendant    Warner Home Video, a division of Warner Bros. Home
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              Michael D. Mueller    on behalf of Creditor    Teachers Insurance and Annuity Association of
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              Michael D. Mueller    on behalf of Creditor    Market Heights, Ltd mmueller@williamsmullen.com,
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              Michael D. Mueller    on behalf of Defendant    U.S. Luggage Co. mmueller@williamsmullen.com,
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              Michael D. Mueller    on behalf of Creditor    RD Bloomfield Associates Limited Partnership
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              Michael D. Mueller    on behalf of Creditor    Ergotron, Inc. f/k/a OmniMount Systems, Inc.
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              Michael D. Mueller    on behalf of Creditor    Acadia Realty Limited Partnership
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              Michael L. Wilhelm    on behalf of Creditor Lilly Hallaian ECF@w2lg.com
              Michael L. Wilhelm    on behalf of Creditor Harry Hallaian ECF@w2lg.com
              Michael L. Wilhelm    on behalf of Creditor Leon Hallaian ECF@w2lg.com
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              Michael P. Falzone    on behalf of Creditor    The Cafaro Northwest Partnership, dba South Hill
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              Michael P. Falzone    on behalf of Defendant    Patriot Enterprises of NY, LLC mfalzone@hf-law.com
              Michael P. Falzone    on behalf of Creditor    Martinair, Inc. mfalzone@hf-law.com
              Michael P. Falzone    on behalf of Creditor    Basile Limited Liability Company mfalzone@hf-law.com
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              Michael P. Falzone    on behalf of Creditor    RTS Marketing, Inc. mfalzone@hf-law.com
              Michael P. Falzone    on behalf of Creditor    Fuel Creative, Inc. mfalzone@hf-law.com
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              Michael P. Falzone    on behalf of Creditor    Dickson Management Associates, LLC
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              Michael P. Falzone    on behalf of Defendant    Amore Construction Company mfalzone@hf-law.com
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              Mitchell B. Weitzman    on behalf of Creditor    Madison Waldorf, LLC mweitzman@jackscamp.com,
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       Case 08-35653-KRH          Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                 Desc
                                Imaged Certificate of Notice Page 42 of 61


District/off: 0422-7          User: garyl                  Page 39 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9             Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
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              Mitchell B. Weitzman    on behalf of Creditor    Tysons 3, LLC mweitzman@jackscamp.com,
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              Nathan Jones    on behalf of Creditor    US Debt Recovery XI, LP heather@usdrllc.com
              Nathan Jones    on behalf of Creditor    US Debt Recovery VIII, L.P. heather@usdrllc.com
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              Neil E. McCullagh    on behalf of Defendant    Hobgood & Rutherford LLC, f/k/a Johnson, Hobgood &
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              Neil E. McCullagh    on behalf of Defendant    Cleveland Construction, Inc.
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       Case 08-35653-KRH         Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                Desc
                               Imaged Certificate of Notice Page 43 of 61


District/off: 0422-7          User: garyl                 Page 40 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9            Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Neil E. McCullagh    on behalf of Creditor Peter Weedfald nmccullagh@spottsfain.com,
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              Neil E. McCullagh    on behalf of Defendant   iGoDitigal, LLC nmccullagh@spottsfain.com,
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              Neil E. McCullagh    on behalf of Defendant   Corporate Facilities Group, Inc. d/b/a Facilities
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              Neil E. McCullagh    on behalf of Creditor   Panattoni Development Company, Inc. as Agent for VVI
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       Case 08-35653-KRH         Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                 Desc
                               Imaged Certificate of Notice Page 44 of 61


District/off: 0422-7          User: garyl                 Page 41 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9            Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
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              Neil E. McCullagh    on behalf of Creditor    Panattoni Development Company, Inc. as Agent for EPC
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              Paul J. Pascuzzi    on behalf of Interested Party    Lexington Herald-Leader ppascuzzi@ffwplaw.com
              Paul J. Pascuzzi    on behalf of Creditor    Columbus Ledger-Enquier ppascuzzi@ffwplaw.com
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              Paul J. Pascuzzi    on behalf of Creditor    Tacoma News, Inc. ppascuzzi@ffwplaw.com
              Paul K. Campsen    on behalf of Defendant    Griffin Marketing & Promotions, Inc.
               pkcampsen@kaufcan.com
              Paul K. Campsen    on behalf of Creditor    Lea Company, a Virginia general partnership, the
               Assignee from Newport News Shopping Center, LLC pkcampsen@kaufcan.com
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              Paul K. Campsen    on behalf of Creditor    Ramco West Oaks I, LLC pkcampsen@kaufcan.com
              Paul K. Campsen    on behalf of Creditor    Newport News Shopping Center, L.L.C.
               pkcampsen@kaufcan.com
              Paul K. Campsen    on behalf of Creditor    Google Inc. pkcampsen@kaufcan.com
              Paul K. Campsen    on behalf of Creditor    Site A, LLC pkcampsen@kaufcan.com
              Paul K. Campsen    on behalf of Creditor    TKG Coffee Tree, L.P. pkcampsen@kaufcan.com
              Paul K. Campsen    on behalf of Creditor    CC Grand Junction Investors 1998, LLC
               pkcampsen@kaufcan.com
              Paul K. Campsen    on behalf of Creditor    Crossways Financial Associates, LLC
               pkcampsen@kaufcan.com
              Paul K. Campsen    on behalf of Creditor    CC Springs, L.L.C. pkcampsen@kaufcan.com
              Paul K. Campsen    on behalf of Creditor    MHW Warner Robins, LLC pkcampsen@kaufcan.com
              Paul K. Campsen    on behalf of Creditor    Vance Baldwin, Inc. pkcampsen@kaufcan.com
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              Paul McCourt Curley    on behalf of Creditor    Carrollton Arms, LLC paul.curley@sixeastlaw.com
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              Paul McCourt Curley    on behalf of Creditor Laurie Lambert-Gaffney paul.curley@sixeastlaw.com
              Paul Michael Schrader    on behalf of Creditor    Contra Costa Times, Inc.
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              Paul Michael Schrader    on behalf of Creditor    San Jose Mercury-News, Inc.
               pschrader@fullertonlaw.com, paul-schrader-1243@ecf.pacerpro.com
       Case 08-35653-KRH         Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                 Desc
                               Imaged Certificate of Notice Page 45 of 61


District/off: 0422-7          User: garyl                 Page 42 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9            Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Paul Michael Schrader   on behalf of Creditor    Bay Area News Group East Bay, LLC
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              Paul Michael Schrader   on behalf of Defendant    TIN Inc. d/b/a Temple-Inland Inc.
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              Paul Michael Schrader   on behalf of Creditor    Contra Costs Times pschrader@fullertonlaw.com,
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              Paul Michael Schrader   on behalf of Defendant    Alameda Newspapers, Inc., Bay Area News Group
               East Bay, LLC, and MediaNews Group, Inc., individually and/or jointly dba Alameda Newspaper
               Group Inc., and/or BayAreaNewsGroup, aka ANG Newspapers pschrader@fullertonlaw.com,
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              Paul Michael Schrader   on behalf of Defendant    Artitali Group, Inc. pschrader@fullertonlaw.com,
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              Paul Michael Schrader   on behalf of Defendant    MediaNews Group, Inc. pschrader@fullertonlaw.com,
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              Paul Michael Schrader   on behalf of Creditor    BayAreaNewsGroup pschrader@fullertonlaw.com,
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              Paul Michael Schrader   on behalf of Creditor    BayAreaNews Group pschrader@fullertonlaw.com,
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               L.L.C.; CC Philadelphia 98, L.L.C.; CC Frederick 98, L.L.C.;and CC Countryside 98, L.L.C.
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              Paul S. Bliley, Jr.   on behalf of Creditor    Hayward 880,LLC pbliley@williamsmullen.com,
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              Paul S. Bliley, Jr.   on behalf of Creditor    CC Countryside 98, LLC pbliley@williamsmullen.com,
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              Paul S. Bliley, Jr.   on behalf of Creditor    Dollar Tree Stores, Inc. pbliley@williamsmullen.com,
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              Paul S. Bliley, Jr.   on behalf of Creditor    Westlake Limited Partnership
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              Paul S. Bliley, Jr.   on behalf of Creditor    Orange County Florida Tax Collector
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              Paul S. Bliley, Jr.   on behalf of Creditor    Highlands County, Florida
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              Paul S. Bliley, Jr.   on behalf of Creditor    Miami-Dade County Tax Collector
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              Paul S. Bliley, Jr.   on behalf of Creditor    Pinnellas County, Florida
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       Case 08-35653-KRH          Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                 Desc
                                Imaged Certificate of Notice Page 46 of 61


District/off: 0422-7          User: garyl                  Page 43 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9             Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Paul S. Bliley, Jr.    on behalf of Interested Party    Carmax Business Services, LLC
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              Paul S. Bliley, Jr.    on behalf of Creditor    Burbank Mall Associates, LLC
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              Peter G. Zemanian    on behalf of Defendant    American Broadcasting Companies, Inc. d/b/a WABC TV
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              Peter G. Zemanian    on behalf of Defendant    WPVI Television, LLC pete@zemanianlaw.com
              Peter G. Zemanian    on behalf of Creditor    Disney Interactive Distribution, et al.
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              Peter G. Zemanian    on behalf of Defendant    Buena Vista Home Entertainment, Inc.
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              Peter G. Zemanian    on behalf of Defendant    ABC Holding Company, Inc., d/b/a KABC TV
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              Peter G. Zemanian    on behalf of Defendant    JP Morgan Chase Bank, N.A. pete@zemanianlaw.com
              Peter G. Zemanian    on behalf of Defendant    Skullcandy, Inc. pete@zemanianlaw.com
              Peter G. Zemanian    on behalf of Defendant    KTRK Television, Inc. pete@zemanianlaw.com
       Case 08-35653-KRH          Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                 Desc
                                Imaged Certificate of Notice Page 47 of 61


District/off: 0422-7          User: garyl                  Page 44 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9             Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
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              Peter G. Zemanian    on behalf of Defendant    KGO Television, Inc. a/k/a KGO-TV, and ABC, Inc.
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              Peter G. Zemanian    on behalf of Defendant    Cobra Electronics Corporation pete@zemanianlaw.com
              Peter G. Zemanian    on behalf of Defendant    Disney Interactive Distribution pete@zemanianlaw.com
              Peter G. Zemanian    on behalf of Defendant    ESPN, Inc., d/b/a ESPN2 pete@zemanianlaw.com
              Peter G. Zemanian    on behalf of Defendant    Argo Partners pete@zemanianlaw.com
              Peter G. Zemanian    on behalf of Defendant    Disney Interactive Studios, Inc. pete@zemanianlaw.com
              Peter G. Zemanian    on behalf of Defendant    Corporate Express Office Products, Inc.
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              Rafael X. Zahralddin-Aravena    on behalf of Creditor    Symantec Corp rxza@elliottgreenleaf.com
       Case 08-35653-KRH          Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                 Desc
                                Imaged Certificate of Notice Page 48 of 61


District/off: 0422-7          User: garyl                  Page 45 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9             Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Rand L. Gelber    on behalf of Creditor    Maricopa County Treasurer RGelberMD@aol.com
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              Rebecca L. Saitta    on behalf of Creditor    Bond C.C. I Delaware Business Trust
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              Reid Steven Whitten    on behalf of Creditor    LaSalle Bank National Association, as trustee for
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              Richard E. Hagerty    on behalf of Defendant    SAP Industries, Inc. fka SAP Retail Inc.
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       Case 08-35653-KRH          Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                 Desc
                                Imaged Certificate of Notice Page 49 of 61


District/off: 0422-7          User: garyl                  Page 46 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9             Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Richard Thomas Pledger    on behalf of 3rd Party Plaintiff    Safeco Insurance Company of America
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              Robert C. Edmundson    on behalf of Creditor    Office of Attorney General, Pennsylvania Department
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              Robert D. Clark    on behalf of Creditor    Treasurer of Douglas County, Colorado
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       Case 08-35653-KRH          Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                 Desc
                                Imaged Certificate of Notice Page 50 of 61


District/off: 0422-7          User: garyl                  Page 47 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9             Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
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              Robert L. LeHane    on behalf of Creditor   Continental Properties Company, Inc.
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              Robert L. LeHane    on behalf of Creditor   Weingarten Realty Investors and Its Affiliates
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              Robert Ryland Musick    on behalf of Defendant    The Times-Picayune, L.L.C. d/b/a The
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              Robert Ryland Musick    on behalf of Defendant    R. G. Brinkmann Company d/b/a Brinkmann
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       Case 08-35653-KRH          Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                 Desc
                                Imaged Certificate of Notice Page 51 of 61


District/off: 0422-7          User: garyl                  Page 48 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9             Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
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              Ron C. Bingham, II   on behalf of Creditor c/o Ron C. Bingham Stites & Harbison, PLLC T.D.
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              Ronald A. Page, Jr.    on behalf of Creditor    JMC Manufacturing Inc. dba Inland Fixture
               rpage@rpagelaw.com, r59927@notify.bestcase.com
              Ronald A. Page, Jr.    on behalf of Attorney    Ronald Page, PLC rpage@rpagelaw.com,
               r59927@notify.bestcase.com
              Ronald A. Page, Jr.    on behalf of Defendant    Miner Fleet Management Group, LLC, fka Miner Fleet
               Management Group, Ltd. rpage@rpagelaw.com, r59927@notify.bestcase.com
              Ronald A. Page, Jr.    on behalf of Creditor    Cormark, Inc. rpage@rpagelaw.com,
               r59927@notify.bestcase.com
              Ronald A. Page, Jr.    on behalf of Creditor    Miner Fleet Management Group, Ltd.
               rpage@rpagelaw.com, r59927@notify.bestcase.com
              Ronald A. Page, Jr.    on behalf of Creditor    Anthony Erickson, d/b/a A.C.E.Enterprises
               rpage@rpagelaw.com, r59927@notify.bestcase.com
              Ronald A. Page, Jr.    on behalf of Defendant    Anthony Erickson, d/b/a A.C.E.Enterprises
               rpage@rpagelaw.com, r59927@notify.bestcase.com
              Ronald A. Page, Jr.    on behalf of Defendant    JMC Manufacturing Inc. dba Inland Fixture
               rpage@rpagelaw.com, r59927@notify.bestcase.com
              Ronald A. Page, Jr.    on behalf of Attorney Ronald A. Page, Jr. rpage@rpagelaw.com,
               r59927@notify.bestcase.com
       Case 08-35653-KRH          Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                 Desc
                                Imaged Certificate of Notice Page 52 of 61


District/off: 0422-7          User: garyl                  Page 49 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9             Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Ronald G. Dunn    on behalf of Creditor Savitri Cohen bstasiak@gdwo.net
              Ronald M. Tucker    on behalf of Creditor    Simon Property Group, Inc. rtucker@simon.com,
               bankruptcy@simon.com
              Roy M. Terry, Jr.    on behalf of Creditor    Hewlett Packard Company rterry@sandsanderson.com,
               sryan@sandsanderson.com;dbbankruptcy@gmail.com;R50171@notify.bestcase.com
              Roy M. Terry, Jr.    on behalf of Creditor    Oracle USA, Inc. rterry@sandsanderson.com,
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              Russell R. Johnson, III    on behalf of Creditor    Chalek Company LLC russ4478@aol.com
              Russell R. Johnson, III    on behalf of Creditor    Averatec/Trigem USA russ4478@aol.com
              Ryan C. Day    on behalf of Creditor    Schimenti Construction Company LLC ryan.day@leclairryan.com
              Ryan C. Day    on behalf of Plaintiff    Schimenti Construction Company LLC ryan.day@leclairryan.com
              S. James Wallace    on behalf of Creditor    Barnes & Powers North, LLC sjw@sjwpgh.com,
               srk@sjwpgh.com
              S. James Wallace    on behalf of Creditor    Equitable Gas Company LLC sjw@sjwpgh.com,
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               Company sgill@vanblk.com
              Sara L. Chenetz    on behalf of Creditor    Sony Pictures Entertainment Inc. chenetz@blankrome.com
              Sarah Beckett Boehm    on behalf of Debtor    PRAHS, INC. sboehm@mcguirewoods.com
              Sarah Beckett Boehm    on behalf of Debtor    Circuit City Stores PR, LLC sboehm@mcguirewoods.com
              Sarah Beckett Boehm    on behalf of Debtor    CC Aviation, LLC sboehm@mcguirewoods.com
              Sarah Beckett Boehm    on behalf of Debtor    Circuit City Stores West Coast, Inc.
               sboehm@mcguirewoods.com
              Sarah Beckett Boehm    on behalf of Debtor    Circuit City Properties, LLC sboehm@mcguirewoods.com
              Sarah Beckett Boehm    on behalf of Debtor    Abbott Advertising Agency, Inc.
               sboehm@mcguirewoods.com
              Sarah Beckett Boehm    on behalf of Debtor    CC Distribution Company of Virginia, Inc.
               sboehm@mcguirewoods.com
              Sarah Beckett Boehm    on behalf of Debtor    Circuit City Stores, Inc. sboehm@mcguirewoods.com
              Sarah Beckett Boehm    on behalf of Debtor    InterTAN, Inc. sboehm@mcguirewoods.com
              Sarah Beckett Boehm    on behalf of Debtor    Ventoux International, Inc. sboehm@mcguirewoods.com
              Sarah Beckett Boehm    on behalf of Debtor    Mayland MN, LLC sboehm@mcguirewoods.com
              Sarah Beckett Boehm    on behalf of Debtor    Orbyx Electronics, LLC sboehm@mcguirewoods.com
              Sarah Beckett Boehm    on behalf of Debtor    Patapsco Designs, Inc. sboehm@mcguirewoods.com
              Sarah Beckett Boehm    on behalf of Plaintiff    Circuit City Stores, Inc. sboehm@mcguirewoods.com
              Sarah Beckett Boehm    on behalf of Defendant    Circuit City Stores, Inc. sboehm@mcguirewoods.com
              Sarah Beckett Boehm    on behalf of Debtor    Kinzer Technology, LLC sboehm@mcguirewoods.com
              Sarah Beckett Boehm    on behalf of Debtor    XSStuff, LLC sboehm@mcguirewoods.com
              Sarah Beckett Boehm    on behalf of Debtor    Courchevel, LLC sboehm@mcguirewoods.com
              Sarah Beckett Boehm    on behalf of Debtor    Sky Venture Corp. sboehm@mcguirewoods.com
              Sarah Beckett Boehm    on behalf of Debtor    Circuit City Purchasing Company, LLC
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              Seth A. Drucker    on behalf of Creditor    Ritz Motel Company sdrucker@honigman.com
              Seth A. Drucker    on behalf of Creditor    McKinley, Inc. sdrucker@honigman.com
              Shalanda N. Franklin    on behalf of Defendant    Belkin International Inc. sfranklin@vanblk.com,
               mdowns@vanblk.com
              Shalanda N. Franklin    on behalf of Defendant    Belkin Logistics, Inc., aka Belkin, Inc.
               sfranklin@vanblk.com, mdowns@vanblk.com
              Shawn M. Christianson    on behalf of Creditor    Oracle USA, Inc. schristianson@buchalter.com,
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              Sheila G. de la Cruz    on behalf of Creditor    TFL Enterprise, LLC sdelacruz@hf-law.com,
               rmcburney@hf-law.com;rmcburney67@gmail.com
              Sheila G. de la Cruz    on behalf of Creditor    502-12 86th Street LLC sdelacruz@hf-law.com,
               rmcburney@hf-law.com;rmcburney67@gmail.com
              Sheila G. de la Cruz    on behalf of Defendant    Kaz, Inc. sdelacruz@hf-law.com,
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              Sheila G. de la Cruz    on behalf of Defendant    Starco, Inc. sdelacruz@hf-law.com,
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              Sheila G. de la Cruz    on behalf of Creditor    RTS Marketing, Inc. sdelacruz@hf-law.com,
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              Sheila G. de la Cruz    on behalf of Creditor    Howland Commons Partnership, an Ohio gen
               partnership dba Howland Commons sdelacruz@hf-law.com, rmcburney@hf-law.com;rmcburney67@gmail.com
              Sheila G. de la Cruz    on behalf of Creditor    Huntington Mall Company sdelacruz@hf-law.com,
               rmcburney@hf-law.com;rmcburney67@gmail.com
              Sheila G. de la Cruz    on behalf of Creditor    Spring Hill Development Partners, GP
               sdelacruz@hf-law.com, rmcburney@hf-law.com;rmcburney67@gmail.com
              Sheila G. de la Cruz    on behalf of Creditor    The Cafaro Northwest Partnership, dba South Hill
               Mall sdelacruz@hf-law.com, rmcburney@hf-law.com;rmcburney67@gmail.com
              Sheila G. de la Cruz    on behalf of Defendant    Horizon Technology, LLC sdelacruz@hf-law.com,
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              Sheila G. de la Cruz    on behalf of Creditor    Basile Limited Liability Company
               sdelacruz@hf-law.com, rmcburney@hf-law.com;rmcburney67@gmail.com
              Sheila G. de la Cruz    on behalf of Creditor    United States Debt Recovery, LLC
               sdelacruz@hf-law.com, rmcburney@hf-law.com;rmcburney67@gmail.com
              Sheila G. de la Cruz    on behalf of Creditor    Kentucky Oaks Mall Company sdelacruz@hf-law.com,
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       Case 08-35653-KRH          Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                 Desc
                                Imaged Certificate of Notice Page 53 of 61


District/off: 0422-7          User: garyl                  Page 50 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9             Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Sheila G. de la Cruz    on behalf of Creditor    Remount Road Associates Limited Partnership
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              Sheila G. de la Cruz    on behalf of Creditor    M and M Berman Enterprises sdelacruz@hf-law.com,
               rmcburney@hf-law.com;rmcburney67@gmail.com
              Sheila G. de la Cruz    on behalf of Defendant    Mizco International, Inc. sdelacruz@hf-law.com,
               rmcburney@hf-law.com;rmcburney67@gmail.com
              Sheila G. de la Cruz    on behalf of Creditor    Altamonte Springs Real Estate Associates, LLC
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              Sheila G. de la Cruz    on behalf of Creditor    The Denver Newspaper Agency, LLP
               sdelacruz@hf-law.com, rmcburney@hf-law.com;rmcburney67@gmail.com
              Sheila G. de la Cruz    on behalf of Creditor    Vertis, Inc. sdelacruz@hf-law.com,
               rmcburney@hf-law.com;rmcburney67@gmail.com
              Sheila G. de la Cruz    on behalf of Creditor    Cottonwood Corners-Phase V, LLC
               sdelacruz@hf-law.com, rmcburney@hf-law.com;rmcburney67@gmail.com
              Sheila G. de la Cruz    on behalf of Creditor    Woodlawn Trustees Incorporated
               sdelacruz@hf-law.com, rmcburney@hf-law.com;rmcburney67@gmail.com
              Sheila G. de la Cruz    on behalf of Creditor    Horizon Technology, LLC sdelacruz@hf-law.com,
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              Sheila G. de la Cruz    on behalf of Creditor    Mizco International, Inc. sdelacruz@hf-law.com,
               rmcburney@hf-law.com;rmcburney67@gmail.com
              Sheila L. Shadmand    on behalf of Defendant    Aiptek, Inc. slshadmand@jonesday.com
              Sheila L. Shadmand    on behalf of Creditor    Aiptek, Inc. slshadmand@jonesday.com
              Sheila L. Shadmand    on behalf of Creditor    Ventura In Manhattan, Inc. slshadmand@jonesday.com
              Stanley M. Salus    on behalf of Defendant    Imperial Sales Corp. d/b/a Imperial Sales Company
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              Stephan William Milo    on behalf of Creditor    BISSELL Homecare, Inc. smilo@wawlaw.com,
               jjohnson@wawlaw.com;krichman@wawlaw.com;ehebb@wawlaw.com;psilling@wawlaw.com
              Stephan William Milo    on behalf of Creditor    THF ONC Development, L.L.C. smilo@wawlaw.com,
               jjohnson@wawlaw.com;krichman@wawlaw.com;ehebb@wawlaw.com;psilling@wawlaw.com
              Stephan William Milo    on behalf of Defendant    DPI, Inc., formerly known as GPX, Inc.
               smilo@wawlaw.com, jjohnson@wawlaw.com;krichman@wawlaw.com;ehebb@wawlaw.com;psilling@wawlaw.com
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               Industrial Division smilo@wawlaw.com,
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              Stephan William Milo    on behalf of Defendant    The Decal Source Inc. smilo@wawlaw.com,
               jjohnson@wawlaw.com;krichman@wawlaw.com;ehebb@wawlaw.com;psilling@wawlaw.com
              Stephan William Milo    on behalf of Defendant    Universal Remote Control, Inc. smilo@wawlaw.com,
               jjohnson@wawlaw.com;krichman@wawlaw.com;ehebb@wawlaw.com;psilling@wawlaw.com
              Stephan William Milo    on behalf of Defendant    Terracon Consultants, Inc. smilo@wawlaw.com,
               jjohnson@wawlaw.com;krichman@wawlaw.com;ehebb@wawlaw.com;psilling@wawlaw.com
              Stephan William Milo    on behalf of Creditor    THF Harrisonburg Crossing, L.L.C. smilo@wawlaw.com,
               jjohnson@wawlaw.com;krichman@wawlaw.com;ehebb@wawlaw.com;psilling@wawlaw.com
              Stephan William Milo    on behalf of Creditor    THF St. Clairsville Development, L.P.
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              Stephan William Milo    on behalf of Creditor    THF Chesterfield Two Development, L.L.C.
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              Stephan William Milo    on behalf of Defendant    Bissell Homecare, Inc., aka Bissell Homecare Inc.,
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              Stephan William Milo    on behalf of Creditor    THF Clarksburg Development One, Limited Liability
               Company smilo@wawlaw.com,
               jjohnson@wawlaw.com;krichman@wawlaw.com;ehebb@wawlaw.com;psilling@wawlaw.com
              Stephan William Milo    on behalf of Interested Party    THF Harrisonburg Crossing, L.L.C.
               smilo@wawlaw.com, jjohnson@wawlaw.com;krichman@wawlaw.com;ehebb@wawlaw.com;psilling@wawlaw.com
              Stephan William Milo    on behalf of Creditor    Z-Line Designs, Inc. smilo@wawlaw.com,
               jjohnson@wawlaw.com;krichman@wawlaw.com;ehebb@wawlaw.com;psilling@wawlaw.com
              Stephan William Milo    on behalf of Defendant    ZT Group International, Inc. dba ZT Systems, Inc.
               smilo@wawlaw.com, jjohnson@wawlaw.com;krichman@wawlaw.com;ehebb@wawlaw.com;psilling@wawlaw.com
              Stephan William Milo    on behalf of Defendant    Hardsoft Solutions, Inc. d/b/a Micro Product
               Distributors, Inc. smilo@wawlaw.com,
               jjohnson@wawlaw.com;krichman@wawlaw.com;ehebb@wawlaw.com;psilling@wawlaw.com
              Stephanie N. Gilbert    on behalf of Defendant    Eleets Logistics, Inc. sgilbert@wilsav.com
              Stephen A. Metz    on behalf of Creditor    Saul Holdings Limited Partnership smetz@offitkurman.com,
               mmargulies@offitkurman.com
              Stephen E. Leach    on behalf of Creditor    Bush Industries, Inc. sleach@hirschlerlaw.com,
               ndysart@hirschlerlaw.com;kburgers@hirschlerlaw.com
              Stephen E. Leach    on behalf of Creditor    Children’s Discovery Centers of America, Inc.
               sleach@hirschlerlaw.com, ndysart@hirschlerlaw.com;kburgers@hirschlerlaw.com
              Stephen G. Murphy    on behalf of Creditor    Massachusetts Department of Revenue
               Murphys@dor.state.ma.us
              Stephen K. Gallagher    on behalf of Creditor    CWCapital Asset Management LLC
               skgallagher@venable.com, MFVanLandingham@Venable.com;lrheitger@venable.com
              Stephen K. Lehnardt    on behalf of Creditor    3725 Airport Boulevard, LP skleh@lehnardt-law.com
              Steven H. Greenfeld    on behalf of Creditor    PR Christiana LLC steveng@cohenbaldinger.com
              Steven H. Greenfeld    on behalf of Creditor    PRGL Paxton LP steveng@cohenbaldinger.com
              Steven H. Greenfeld    on behalf of Creditor    Red Rose Commons Associates, L.P.
               steveng@cohenbaldinger.com
              Steven H. Greenfeld    on behalf of Creditor    Marple XYZ Associates steveng@cohenbaldinger.com
       Case 08-35653-KRH          Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                 Desc
                                Imaged Certificate of Notice Page 54 of 61


District/off: 0422-7          User: garyl                  Page 51 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9             Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Steven H. Greenfeld    on behalf of Creditor    Becker Trust LLC steveng@cohenbaldinger.com
              Steven H. Greenfeld    on behalf of Creditor    Park Side Realty LP steveng@cohenbaldinger.com
              Steven H. Greenfeld    on behalf of Creditor    Goodmill LLC steveng@cohenbaldinger.com
              Steven H. Greenfeld    on behalf of Creditor    PREIT SERVICES, LLC steveng@cohenbaldinger.com
              Steven H. Greenfeld    on behalf of Creditor    Pep Boys - Manny, Moe & Jack
               steveng@cohenbaldinger.com
              Steven H. Greenfeld    on behalf of Creditor    THE GOLDENBERG GROUP steveng@cohenbaldinger.com
              Steven H. Greenfeld    on behalf of Creditor    Boulevard North, LP steveng@cohenbaldinger.com
              Steven H. Newman    on behalf of Creditor    502-12 86th Street LLC snewman@katskykorins.com
              Steven L. Brown    on behalf of Creditor    Walter E. Hartman & Sally J. Hartman, as Trustee of the
               Hartman 1995 Ohio Property steven@tiffanylawfirm.com
              Steven L. Brown    on behalf of Defendant    The Dispatch Printing Company, d/b/a Columbus Dispatch
               steven@tiffanylawfirm.com
              Steven L. Brown    on behalf of Defendant    Construct, Inc. steven@tiffanylawfirm.com
              Steven L. Brown    on behalf of Creditor    Construct Inc., a Michigan corporation
               steven@tiffanylawfirm.com
              Steven L. Brown    on behalf of Creditor    The Columbus Dispatch steven@tiffanylawfirm.com
              Steven L. Brown    on behalf of Creditor    Construct, Inc. steven@tiffanylawfirm.com
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              Terri A. Roberts    on behalf of Creditor    Pima County pcaocvbk@pcao.pima.gov
              Thaddeus D. Wilson    on behalf of Defendant    Mitsubishi Electronics America, Inc.
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              Thomas David Rethage    on behalf of Creditor    EEOC’S thomas.rethage@eeoc.gov
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              Thomas John McIntosh    on behalf of Defendant    WSVN-TV, a unit of Sunbeam Television Corporation
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              Thomas John McKee, Jr.    on behalf of Defendant    Avnet, Inc. mckeet@gtlaw.com, smedsa@gtlaw.com
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              Thomas Joseph Moran    on behalf of Creditor    Safeco Insurance Company of America
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              Thomas Neal Jamerson    on behalf of Creditor    Galleria Plaza, Ltd. tjamerson@hunton.com,
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              Thomas Neal Jamerson    on behalf of Interested Party    Parker Central Plaza Ltd
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              Thomas W. Repczynski    on behalf of Creditor Loren Stocker trepczynski@offitkurman.com,
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              Thomas W. Repczynski    on behalf of Creditor    Graphic Communications, Inc.
               trepczynski@offitkurman.com, tboyd@offitkurman.com
              Thomas W. Repczynski    on behalf of Creditor    Tutwiler Properties, LTD
               trepczynski@offitkurman.com, tboyd@offitkurman.com
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               trepczynski@offitkurman.com, tboyd@offitkurman.com
              Tiffany Strelow Cobb    on behalf of Creditor    Platform-A Inc. tscobb@vorys.com,
               bjtobin@vorys.com
              Tiffany Strelow Cobb    on behalf of Creditor    AOL LLC tscobb@vorys.com, bjtobin@vorys.com
              Tiffany Strelow Cobb    on behalf of Creditor    Advertising.com Inc. tscobb@vorys.com,
               bjtobin@vorys.com
              Timothy Francis Brown    on behalf of Interested Party    F.R.O., L.L.C. IX brownt@arentfox.com
              Timothy Francis Brown    on behalf of Creditor    13630 Victory Boulevard, LLC brownt@arentfox.com
              Timothy W. Boykin    on behalf of Creditor    Alameda County Treasurer tboykin@vanblk.com,
               croyes@vanblk.com
              Tracey Michelle Ohm    on behalf of Defendant    Targus, Inc. tracey.ohm@stinson.com,
               porsche.barnes@stinson.com
              Tracey Michelle Ohm    on behalf of Creditor    Waste Management, Inc. tracey.ohm@stinson.com,
               porsche.barnes@stinson.com
              Troy Savenko     on behalf of Creditor    Slam Brands, Inc. tsavenko@kv-legal.com
       Case 08-35653-KRH          Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                 Desc
                                Imaged Certificate of Notice Page 55 of 61


District/off: 0422-7          User: garyl                  Page 52 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9             Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Troy Savenko    on behalf of Movant    PlumChoice, Inc. tsavenko@kv-legal.com
              Troy Savenko    on behalf of Creditor     Liberty Mutual Insurance Company tsavenko@kv-legal.com
              Troy Savenko    on behalf of Creditor     PlumChoice, Inc. tsavenko@kv-legal.com
              Troy Savenko    on behalf of Defendant     A.J. Padelford & Son, Inc. tsavenko@kv-legal.com
              Troy Savenko    on behalf of Defendant     Morris Publishing Group, LLC dba The Florida Times-Union
               tsavenko@kv-legal.com
              Troy Savenko    on behalf of Defendant     Morris Communications Company, LLC; Morris
               Communications Corporation; Morris Communications Group, LLC; Morris Communications Holding
               Company, LLC; Morris Communications Media Group, Inc.; Morris Pub tsavenko@kv-legal.com
              Troy Savenko    on behalf of Interested Party     Liquid Asset Partners, LLC tsavenko@kv-legal.com
              Troy Savenko    on behalf of Creditor     Archos, Inc. tsavenko@kv-legal.com
              Troy Savenko    on behalf of Defendant     PlumChoice, Inc. tsavenko@kv-legal.com
              Troy Savenko    on behalf of Creditor     Safeco Insurance Company of America tsavenko@kv-legal.com
              Troy Savenko    on behalf of Creditor     Ada Alicea, on behalf of herself and all others similarly
               situated tsavenko@kv-legal.com
              Troy Savenko    on behalf of Creditor     AmREIT, a Texas Real Estate Investment Trust
               tsavenko@kv-legal.com
              Tyson Alynn Johnson    on behalf of Creditor    Berkadia Commercial Mortgage LLC
               tyson.johnson@bryancave.com
              Tyson Alynn Johnson    on behalf of Creditor    Capmark Finance, Inc. tyson.johnson@bryancave.com
              Valerie P. Morrison    on behalf of Creditor    Daly City Partners I, L.P
               val.morrison@nelsonmullins.com, robert.ours@nelsonmullins.com;lori.stewart@nelsonmullins.com
              Valerie P. Morrison    on behalf of Creditor    Infogain Corporation val.morrison@nelsonmullins.com,
               robert.ours@nelsonmullins.com;lori.stewart@nelsonmullins.com
              Valerie P. Morrison    on behalf of Creditor    Envision Peripherals, Inc.
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              Valerie P. Morrison    on behalf of Creditor    Lexar Media, Inc. val.morrison@nelsonmullins.com,
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              Victoria D. Garry    on behalf of Creditor    Ohio Bureau of Workers’ Compensation
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              Walter Laurence Williams    on behalf of Movant    Wayne VF, LLC walter.williams@wilsonelser.com
              Walter Laurence Williams    on behalf of Creditor    Wayne VF LLC walter.williams@wilsonelser.com
              Wanda Borges    on behalf of Defendant     MediaNews Group, Inc. ecfcases@borgeslawllc.com
              Wanda Borges    on behalf of Defendant     Alameda Newspapers, Inc., Bay Area News Group East Bay,
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               and/or BayAreaNewsGroup, aka ANG Newspapers ecfcases@borgeslawllc.com
              Wanda Borges    on behalf of Defendant     Bay Area News Group East Bay, LLC
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              Wanda Borges    on behalf of Defendant     Alameda Newspapers, Inc. ecfcases@borgeslawllc.com
              Wanda Borges    on behalf of Defendant     MediaNews Group, Inc. and San Jose Mercury-News, Inc.,
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              Wanda Borges    on behalf of Creditor     Sharp Electronics Corporation ecfcases@borgeslawllc.com
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              Wanda Borges    on behalf of Defendant     Sharp Electronics Corporation ecfcases@borgeslawllc.com
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       Case 08-35653-KRH          Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                 Desc
                                Imaged Certificate of Notice Page 56 of 61


District/off: 0422-7          User: garyl                  Page 53 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9             Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              William A. Burnett    on behalf of Creditor    DIRECTV, Inc. aburnett@williamsmullen.com,
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              William A. Burnett    on behalf of Interested Party    DIRECTV, Inc. aburnett@williamsmullen.com,
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              William A. Burnett    on behalf of Creditor    Vonage Holdings, Inc. aburnett@williamsmullen.com,
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              William A. Burnett    on behalf of Creditor    American National Insurance Company
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              William A. Burnett    on behalf of Creditor    Vonage Marketing Inc. aburnett@williamsmullen.com,
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              William A. Burnett    on behalf of Creditor    CC Countryside 98, LLC aburnett@williamsmullen.com,
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              William A. Burnett    on behalf of Defendant    SBLM Architects PC aburnett@williamsmullen.com,
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              William A. Burnett    on behalf of Creditor    ION Audio, LLC aburnett@williamsmullen.com,
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              William A. Burnett    on behalf of Creditor    LumiSource, Inc. aburnett@williamsmullen.com,
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              William A. Burnett    on behalf of Creditor    Tax Collector, Polk County, Florida
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       Case 08-35653-KRH         Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                 Desc
                               Imaged Certificate of Notice Page 57 of 61


District/off: 0422-7          User: garyl                 Page 54 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9            Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              William A. Gray   on behalf of Creditor    Route 146 Millbury LLC bgray@sandsanderson.com,
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              William A. Gray   on behalf of Creditor    Alexander’s Rego Park Center, Inc.
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              William A. Gray   on behalf of Creditor    Boston Acoustics, Inc. bgray@sandsanderson.com,
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       Case 08-35653-KRH         Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                Desc
                               Imaged Certificate of Notice Page 58 of 61


District/off: 0422-7          User: garyl                 Page 55 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9            Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              William A. Gray   on behalf of Creditor   BevCon I, LLC bgray@sandsanderson.com,
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              William A. Gray   on behalf of Defendant Steven P. Pappas bgray@sandsanderson.com,
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              William A. Gray   on behalf of Creditor   NPP Development LLC bgray@sandsanderson.com,
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              William A. Gray   on behalf of Creditor   Metra Electronics Corporation bgray@sandsanderson.com,
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              William A. Gray   on behalf of Defendant Randall W. Wick bgray@sandsanderson.com,
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              William A. Gray   on behalf of Defendant   Boston Acoustics, Inc. bgray@sandsanderson.com,
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              William A. Gray   on behalf of Creditor   DEV Limited Partnership bgray@sandsanderson.com,
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              William A. Gray   on behalf of Defendant Marc J. Sieger bgray@sandsanderson.com,
               sryan@sandsanderson.com;dbbankruptcy@gmail.com;R50171@notify.bestcase.com
       Case 08-35653-KRH         Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                Desc
                               Imaged Certificate of Notice Page 59 of 61


District/off: 0422-7         User: garyl                  Page 56 of 58                Date Rcvd: Jul 15, 2019
                             Form ID: pdford9             Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              William A. Gray   on behalf of Defendant Bruce H. Besanko bgray@sandsanderson.com,
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              William A. Gray   on behalf of Creditor   The Stop & Shop Supermarket Company LLC
               bgray@sandsanderson.com,
               sryan@sandsanderson.com;dbbankruptcy@gmail.com;R50171@notify.bestcase.com
              William A. Gray   on behalf of Creditor   John Rohrer Contracting Company, Inc.
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               sryan@sandsanderson.com;dbbankruptcy@gmail.com;R50171@notify.bestcase.com
              William A. Gray   on behalf of Defendant William E. McCorey, Jr. bgray@sandsanderson.com,
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              William A. Gray   on behalf of Defendant Kelly E. Breitenbecher bgray@sandsanderson.com,
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              William A. Gray   on behalf of Creditor   BPP-VA LLC bgray@sandsanderson.com,
               sryan@sandsanderson.com;dbbankruptcy@gmail.com;R50171@notify.bestcase.com
              William A. Gray   on behalf of Defendant   Tamrac, Inc. bgray@sandsanderson.com,
               sryan@sandsanderson.com;dbbankruptcy@gmail.com;R50171@notify.bestcase.com
              William A. Gray   on behalf of Creditor   Green Acres Mall, LLC bgray@sandsanderson.com,
               sryan@sandsanderson.com;dbbankruptcy@gmail.com;R50171@notify.bestcase.com
              William A. Gray   on behalf of Creditor   OmniMount Systems, Inc. bgray@sandsanderson.com,
               sryan@sandsanderson.com;dbbankruptcy@gmail.com;R50171@notify.bestcase.com
              William A. Gray   on behalf of Creditor   Lee County, Mississippi Tax Collector
               bgray@sandsanderson.com,
               sryan@sandsanderson.com;dbbankruptcy@gmail.com;R50171@notify.bestcase.com
              William A. Gray   on behalf of Creditor   BPP-WB LLC bgray@sandsanderson.com,
               sryan@sandsanderson.com;dbbankruptcy@gmail.com;R50171@notify.bestcase.com
              William A. Gray   on behalf of Creditor   RBS Business Capital bgray@sandsanderson.com,
               sryan@sandsanderson.com;dbbankruptcy@gmail.com;R50171@notify.bestcase.com
              William A. Gray   on behalf of Creditor   Amherst VF LLC bgray@sandsanderson.com,
               sryan@sandsanderson.com;dbbankruptcy@gmail.com;R50171@notify.bestcase.com
              William A. Gray   on behalf of Creditor   T. J. Maxx of CA, LLC bgray@sandsanderson.com,
               sryan@sandsanderson.com;dbbankruptcy@gmail.com;R50171@notify.bestcase.com
              William A. Gray   on behalf of Defendant   Denon Electronics (USA), LLC bgray@sandsanderson.com,
               sryan@sandsanderson.com;dbbankruptcy@gmail.com;R50171@notify.bestcase.com
              William A. Gray   on behalf of Defendant   Colorado Structures, Inc., dba CSI Construction Co.
               bgray@sandsanderson.com,
               sryan@sandsanderson.com;dbbankruptcy@gmail.com;R50171@notify.bestcase.com
              William A. Gray   on behalf of Creditor   Midwest Block & Brick, Inc. bgray@sandsanderson.com,
               sryan@sandsanderson.com;dbbankruptcy@gmail.com;R50171@notify.bestcase.com
              William A. Gray   on behalf of Creditor   East Brunswick VF LLC bgray@sandsanderson.com,
               sryan@sandsanderson.com;dbbankruptcy@gmail.com;R50171@notify.bestcase.com
              William A. Gray   on behalf of Defendant   The Insurance Company of the State of Pennsylvania
               bgray@sandsanderson.com,
               sryan@sandsanderson.com;dbbankruptcy@gmail.com;R50171@notify.bestcase.com
              William A. Gray   on behalf of Creditor   Chatham County, GA Tax Commissioner
               bgray@sandsanderson.com,
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              William A. Gray   on behalf of Defendant John T. Harlow bgray@sandsanderson.com,
               sryan@sandsanderson.com;dbbankruptcy@gmail.com;R50171@notify.bestcase.com
              William A. Gray   on behalf of Defendant Peter C. Weedfald bgray@sandsanderson.com,
               sryan@sandsanderson.com;dbbankruptcy@gmail.com;R50171@notify.bestcase.com
              William A. Gray   on behalf of Creditor   Valley Corners Shopping Center, LLC
               bgray@sandsanderson.com,
               sryan@sandsanderson.com;dbbankruptcy@gmail.com;R50171@notify.bestcase.com
              William A. Gray   on behalf of Defendant Marshall J. Whaling bgray@sandsanderson.com,
               sryan@sandsanderson.com;dbbankruptcy@gmail.com;R50171@notify.bestcase.com
              William A. Gray   on behalf of Defendant   Fourstar International Trading Company
               bgray@sandsanderson.com,
               sryan@sandsanderson.com;dbbankruptcy@gmail.com;R50171@notify.bestcase.com
              William A. Gray   on behalf of Creditor Richard Grande bgray@sandsanderson.com,
               sryan@sandsanderson.com;dbbankruptcy@gmail.com;R50171@notify.bestcase.com
              William A. Gray   on behalf of Creditor   BPP-SC LLC bgray@sandsanderson.com,
               sryan@sandsanderson.com;dbbankruptcy@gmail.com;R50171@notify.bestcase.com
              William A. Gray   on behalf of Creditor   Sensormatic Electronic Corporation
               bgray@sandsanderson.com,
               sryan@sandsanderson.com;dbbankruptcy@gmail.com;R50171@notify.bestcase.com
              William A. Gray   on behalf of Creditor   Monument Consulting, LLC bgray@sandsanderson.com,
               sryan@sandsanderson.com;dbbankruptcy@gmail.com;R50171@notify.bestcase.com
              William A. Gray   on behalf of Defendant   Construction Testing and Engineering, Inc.
               bgray@sandsanderson.com,
               sryan@sandsanderson.com;dbbankruptcy@gmail.com;R50171@notify.bestcase.com
              William A. Gray   on behalf of Defendant George D. Clark, Jr. bgray@sandsanderson.com,
               sryan@sandsanderson.com;dbbankruptcy@gmail.com;R50171@notify.bestcase.com
              William A. Gray   on behalf of Creditor   Baker Natick Promenade LLC bgray@sandsanderson.com,
               sryan@sandsanderson.com;dbbankruptcy@gmail.com;R50171@notify.bestcase.com
              William A. Gray   on behalf of Creditor   Wayne VF LLC bgray@sandsanderson.com,
               sryan@sandsanderson.com;dbbankruptcy@gmail.com;R50171@notify.bestcase.com
              William A. Gray   on behalf of Defendant Reginald D. Hedgebeth bgray@sandsanderson.com,
               sryan@sandsanderson.com;dbbankruptcy@gmail.com;R50171@notify.bestcase.com
       Case 08-35653-KRH          Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                 Desc
                                Imaged Certificate of Notice Page 60 of 61


District/off: 0422-7          User: garyl                  Page 57 of 58                Date Rcvd: Jul 15, 2019
                              Form ID: pdford9             Total Noticed: 12


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system (continued)
              William A. Gray    on behalf of Creditor Reverend Dwayne Funches bgray@sandsanderson.com,
               sryan@sandsanderson.com;dbbankruptcy@gmail.com;R50171@notify.bestcase.com
              William A. Gray    on behalf of Creditor    Star Universal, LLC bgray@sandsanderson.com,
               sryan@sandsanderson.com;dbbankruptcy@gmail.com;R50171@notify.bestcase.com
              William A. Gray    on behalf of Creditor    North Bergen Tonnelle Plaza, LLC
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               sryan@sandsanderson.com;dbbankruptcy@gmail.com;R50171@notify.bestcase.com
              William A. Gray    on behalf of Defendant    The Oklahoma Publishing Company
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               sryan@sandsanderson.com;dbbankruptcy@gmail.com;R50171@notify.bestcase.com
              William A. Gray    on behalf of Creditor    BPP-Redding LLC bgray@sandsanderson.com,
               sryan@sandsanderson.com;dbbankruptcy@gmail.com;R50171@notify.bestcase.com
              William A. Gray    on behalf of Creditor    E&A Northeast Limited Partnership
               bgray@sandsanderson.com,
               sryan@sandsanderson.com;dbbankruptcy@gmail.com;R50171@notify.bestcase.com
              William A. Gray    on behalf of Defendant    Fourstar Group Inc. bgray@sandsanderson.com,
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              William A. Gray    on behalf of Creditor    Denon Electronics bgray@sandsanderson.com,
               sryan@sandsanderson.com;dbbankruptcy@gmail.com;R50171@notify.bestcase.com
              William A. Wood, III    on behalf of Creditor    Panattoni Development Company, Inc. as Agent for
               Charles L. Kessinger, Jacque L. Kessinger and FRE Northglenn Retail, LLC trey.wood@bgllp.com,
               chris.tillmanns@bgllp.com
              William A. Wood, III    on behalf of Creditor c/o William A. Wood Panattoni Construction, Inc.
               trey.wood@bgllp.com, chris.tillmanns@bgllp.com
              William A. Wood, III    on behalf of Creditor    Raymond & Main Retail, LLC trey.wood@bgllp.com,
               chris.tillmanns@bgllp.com
              William B. Cave    on behalf of Creditor    P.R. Mechanical, Inc. wcave@hophabcave.com
              William D. Bayliss    on behalf of Creditor Richard Kreuger bbayliss@williamsmullen.com
              William Daniel Prince, IV    on behalf of Defendant    International Business Machines Corporation
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              William Daniel Prince, IV    on behalf of Defendant    R. G. Brinkmann Company d/b/a Brinkmann
               Constructors wprince@t-mlaw.com, jseay@t-mlaw.com
              William Daniel Prince, IV    on behalf of Defendant    IBM Credit, LLC wprince@t-mlaw.com,
               jseay@t-mlaw.com
              William Daniel Sullivan    on behalf of Attorney William Daniel Sullivan jennydan248@msn.com
              William Daniel Sullivan    on behalf of Defendant    Pioneer Electronics (USA) Inc.
               dsullivan@butzeltp.com
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              William H. Schwarzschild, III    on behalf of Creditor    MRV Wanamaker, LC
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              William H. Schwarzschild, III    on behalf of Defendant    Hotan Corporation
               tschwarz@williamsmullen.com
              William H. Schwarzschild, III    on behalf of Defendant    Datel Design & Development, Inc.
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              William H. Schwarzschild, III    on behalf of Defendant    J&J Industries, Inc.
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              William H. Schwarzschild, III    on behalf of Creditor    National Western Life Insurance Company
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              William H. Schwarzschild, III    on behalf of Defendant    Merrill Communications LLC
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              William H. Schwarzschild, III    on behalf of Creditor    Miami-Dade County Tax Collector
               tschwarz@williamsmullen.com
              William H. Schwarzschild, III    on behalf of Creditor    DIRECTV, Inc. tschwarz@williamsmullen.com
              William H. Schwarzschild, III    on behalf of Creditor    Dick’s Sporting Goods, Inc.
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              William H. Schwarzschild, III    on behalf of Creditor    Vonage Marketing Inc.
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              William H. Schwarzschild, III    on behalf of Creditor    Dollar Tree Stores, Inc.
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              William H. Schwarzschild, III    on behalf of Defendant    Evening Post Publishing Company, dba The
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              William H. Schwarzschild, III    on behalf of Creditor    LumiSource, Inc.
               tschwarz@williamsmullen.com
              William H. Schwarzschild, III    on behalf of Creditor    State Board of Equalization
               tschwarz@williamsmullen.com
              William H. Schwarzschild, III    on behalf of Creditor    SouthPeak Interactive, LLC
               tschwarz@williamsmullen.com
              William H. Schwarzschild, III    on behalf of Creditor    ION Audio, LLC tschwarz@williamsmullen.com
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              Wm. Joseph A. Charboneau    on behalf of Creditor Charles Booth jcharboneau@mglspc.com,
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              Wm. Joseph A. Charboneau    on behalf of Creditor    Placer California jcharboneau@mglspc.com,
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       Case 08-35653-KRH         Doc 14229 Filed 07/17/19 Entered 07/18/19 00:24:09                Desc
                               Imaged Certificate of Notice Page 61 of 61


District/off: 0422-7         User: garyl                  Page 58 of 58                Date Rcvd: Jul 15, 2019
                             Form ID: pdford9             Total Noticed: 12


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